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       ERGS, INC. v. AMCO Insurance Company (“Amco”) (erroneously
                      sued and served as “Nationwide”)
                                             Case No.
                                       EXHIBIT A

Complaint Ergs, Inc. v. Nationwide; Roe Entities I-X
Second Judicial District Court of Nevada In and For the County of Washoe,
Court Case Number CV17-01040

       Bates Nos.    PLO00001 - PL00065
Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 2 of 66


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                                                                       Jacquefine Bryant
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1                                                               Transaction # 6122344 : D
     Patrick"R. Millsap, Esq.
2    Nevada Bar No.: 12043
     F. McClure W allace, Esq.                              D E U«~vE'
3    Nevada Bar No.: 10264
     WALLACE 8i NfILLSAP                                    r
4                                                                    0232017
     510 W Piumb Lane Suite A
5    R.eno, Nevada 89509
     Ph: (775) 683•9599
6    Fax: (775) 683-9597                                         sl'
     Patrick@wallacemillsap.com
7
8               for ERGS, Inc.
9                  IToT THE SECONl3 JUDICIAL DISTRICT COURT OF
                              THE S'rATE OF NEVADA
10
                        IN AND FOR TIiE COUNTY OF WASHOE
11,
    ERGS, INC.
12.                                                  Case No.: CV17-01040
                                  Plaintiff,
13
                                                     Dept. No.: 10
14      V.

15 NATIONWIDE; ROE Entities I-X;
16
17
18                                    CQMPLAINT
19                       (Exemption from Arbitration Requested)
20           COMES NOW, Plainti£f ERGS, INC., by and through its counsel of record,
21 Patrick R. Millsap, Esq. and F. McClure Wallace, Esq., and hereby complains,
22 asserts and alleges the following against Nationwide:                                        I
23                                      PARTIES
24      1. ERGS, INC. ("ERGS") is a domestic corporation incorporated under the laws
25 of the State of Nevada and regi.stered as Entity Number C602-1959 with a Nevada
26 Business ID of NV19591000465. See Exhibit 1.
27     - 2. Nationwide Mutual Insurance Company provides insurance and financial
28 services in the State of Nevada under the service mark "Nationwide", and is
                                               -1-


                                                                                     PLO00001
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       registered with the Nevada Secretary of State as Entity Number E0652352014-9.
       See Ezhibit 2.
          3. ERGS does not yet know the true names and capacities of the Defendants
       sued herein as ROE Entities I-X ancl, therefore, sues these Defendants under such
       fictitious names. ERGS will amend this Complaint to allege the true names and
       capacities of these ROE Defendants when ascertained. ERGS is informed and
       believes, and therefore alleges, that each fictitiously named Defendant is
       responsible for the failure to provide the required insurance coverage to ERGS as
 9 alleged below. Due to such failure, ERGS suffered extensive damages i.n excess o

10 $50,000.00. Because these fictitious Defendants are in some manner responsible

11 for the failure to provide the required insurance coverage to ERGS, they are equally

12 responsible for the resulting damages.

13                                         VENUE
14 I      4. Venue is proper in the Second Judicial District Court of the State of Nevada,
15 In and For the County of Washoe, under NRS 13.010(1) because Nationwide

16 contracted to perform insurance services for ERGS in Washoe County, Nevada.

17                          SUBJECT M.ATTER JURISDICTION
18        5. The Nevada Constitution confers original and appeliate subject matter
19 jurisdiction upon the district courts. Morrison v. Beach City LLC, 116 Nev. 34, 37,

20 991 P.2d 982, 983 (2000). The constitution provides district courts do not have

21 original jurisdiction over actions that fall within the original jurisdiction of the

22 justices' courts. Id., see also Nev. Const. art. 6, § 6. Since this matter does not fall

23 within the original jurisdiction of the justices' courts, this Court has subject matter

24 jurisdiction over this dispute.

25                               FACTUAL BACKGROUND
26       I. FACTs UNDERLYING THE LOSs
27        6. ERGS is a Nevada business engaged in the lawful development and
28 management of real property.

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1     7. ERGS currently, and at the time of the loss, owned, managed, and
2 maintained the real property commonly known as 7350 Silver Lake Rd. Reno,

3 Nevada 89506 (the "Property").

4     8. The Property is an apartment complex in the City of Reno, County of Washoe,
5 State of Nevada.

6     9. ERGS purchased insurance from Nationwide to cover the Property by andl
7 through ERGS's insurance broker, LP                Services lnc. ("LP"). A copy of the
8 applicable insurance policy purchased by ERGS from Nationwide covering the

9 Property is attached hereto as Exhibit 3.

10    10. Regarding the loss at issue, a family member of an apartment tenant visited
11 the ERGS ma.nagement office to report water damage in a unit. Upon responding to

12 the Property to inspect the water damage, ERGS found the affected apartments to

13'' be 15F and 15H (the "Apartments") located on the Property.

14     11. Upon information and belief, the plumbing lines connecting the Apartments
15 experienced a blockage causing water to flood the Apartments.

16     12. The blockage was partially visible from a toilet within one of the Apartments.
17     13.The water caused extensive damage to the Apartments, as well as, persona]
18 property within the Apartments.

19     14. ERGS began a thorough investigation of the cause of the blockage within the
20 plumbing lines connecting the Apartments.

21     15. ERGS technicians succeeded in removing feminine hygiene products and
22 moist wipes from the plumbing system, which were partially visible from the toilet,

23 thereby alleviating the obstruction in the plum.bing line.

24     16. Of note, the blockage in the plumbing system connecting the Apartments was
25 not in the sewer main operated by the City of Reno and/or Washoe County.

26     17. The blockage that caused the loss at issue was within the boundary and
27 footprint of the Property.

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9



    1      18.After ERGS technicians removed the blockage from the plumbing system,
    2 ERGS began the process of reporti.ng the loss to Nationwide to cover the damages.
    3    II.      NATIONWIDE'S REFUSAL TO PROVIDE FULL POLICY COVERAGE
    4      19.ERGS reported the loss to Nationwide by and through its insurance broker
    5 LP.
    6          20. LP then followed the proper reporti.n.g and notice procedures to advise
     7 Nationwide of the loss and ERGS's corresponding demand for coverage.
     8         21. Nationwide conducted a brief investigation of the claim through adjuster
         Brandon Ashwood, who prepared a cost af repair estimate after observing the
         damages.
               22.Of import, Nationwide did not hire a plumbing expert or competent
    12 technician to investigate the source and cause of the obstruction in the plumbing
    13 system.
    14         23.Moreover, Nationwide did not retain a plumbing expert or technician to
    15 determine where the blockage was located in relation to the sewer main operated by
    16 the City and/or County versus the plumbing system located within the footprint of
    17 the Property.
    18         24. Rather, ERGS reported the blockage occurred in the plumbing system within
    19 the footprint of the Property, and this fact was never investigated, challenged, or
    20 disputed by Nationwide and its representatives.
    21         25.After submission of the claim, Nationwide determined the loss fit within an
    22 exclusion to full policy coverage found in Section B(1)(g)(3) of the policy.          See
    23 Exhibit 3.
    24         26. Section B(1)(g)(3) of the policy excluded coverage for damages caused by
    25 "water that backs up or overflows or is otherwise discharged from a sewer, drain,
    26 sump, sump pump, or related equipment, except as provided under the Back Up Of
    27 Sewer Or Drain Water Damage Additional Coverage". See Exhibit 3.
    28
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                                                                                  PLO00004
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 1      27. Pursuant to the last clause of the exclusion, the Policy provided additi
 2 coverage of $5,000.00 for losses fitting with.in the "Back Up of Sewer and IC
 3 Water" exclusion. See Exhibit 3.
 4      28. Thus, Nationwide concluded its sole obligation to its insured, ERGS, was to
 5 pay $5,000.00 in additional coverage under the "Back Up Of Sewer and Drain,
 6 Water" additional coverage declaration to the policy. See Ezhibit 3.
 7      29.Nationwide denied any obligation to provide full coverage under the policy
 8 based on exclusion B(1)(g)(3).
 9      30. The $5,000.00 in additional coverage was insufficient to cover the damages
10 incurred by ERGS caused by the loss, which exceeded $50,000.00 subject to proof at
11 f trial.
12      31. ERGS expressed concern to its insurance broker, LP, regarding Nationwide
13 I application of the policy exclusion to avoid full coverage of the claim.
14      32. LP undertook an investigation of the policy to assess the applicable insuranc
15'. coverage on behalf of LP's client, ERGS.
16       33.After researching the relevant policy language, LP drafted correspondence
17 dated September 8, 2016 to Nationwide indicating the "Back Up of Sewer and Drain
18 Water" exclusion in the policy did not apply to this loss. See Eghibit 4.
19       34. LP indicated the policy exclusion did not include damages flowing from an
20 obstructed plumbing line within the insured's property boundary. See Eghibit 4.
21       35. LP cited case law supporting its interpretation of the policy. See Exhibit 4.
22       36. Brandon Ashwood replied to LP's correspondence by indicating the exclusion
23 to full coverage i.n Section B(1)(g)(3) applied, thereby limiting coverage to the
24 $5,000.00 in additional coverage for the "Back Up of Sewer and Drai.n Water". SeE
25 Eghibit 4.
26       37. However, Mr. Ashwood, nor any other representative of Nationwide, offered
27 applicable law supporting Nationwide's application of the "Back Up of Sewer and
28
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                                                                                PLO00005
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1     Drain Water" exclusion, which NRS 686A.310(1)(n) required, despite LP presenting
2     the case law requiring Nationwide to cover the loss.
3        38.A thorough review of the policy language demonstrates Nationwide has a
4     duty to provide full policy coverage for loss caused by an obstruction in the
5     plumbing system within the footprint of the Property.
6     III.      THE RELEVANT POLICY PR.OVISIONS

7        39. Nationwide did not dispute this loss entailed "direct physical loss of or
 8    damage to Covered Property" as defined by the policy.
 9           40. Rather, Nationwide claimed the loss was not a"Covered Cause of Loss".
10           41. A Covered Cause of Loss is defined in Section A.3. of the policy, and states a
ll~   Covered Cause of Loss is direct physical loss that is not excluded or limited by the'
12 policy.
13           42.In other words, Nationwide is contractually obligated to provide fu.11 policy
14 coverage for direct physical loss or damage to covered property unless the loss is
15 excluded or limited by the terms of the policy.
16           43. Nationwide asserted the loss is not a"Covered Cause of Loss" because
17 ERGS's loss is excluded from full policy coverage by Section B(1)(g)(3) of the policy.
18           44. Section B(1)(g)(3) of the policy states:
19           B. Exclusions
20              1. We will not pay for loss or damage caused directly or indirectly by any of
21              the following. Such loss or damage is excluded regardless of any other cause
22              or event that contributes concurrently or in any sequence to the loss. These
23              exclusions apply whether or not the loss event results in widespread damage
24              or affects a substantial area.
25                     g. Water
26                            (3) Water that backs up or overflows or is otherwise discharged
27                            from a sewer, drain, sump, sump pump or related equipment,
28

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                                                                                    PLO00006
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1                      except as provided under the Back Up Of Sewer Or Drain Water
2                      Damage Additional Coverage;
3 (the "Sewer and Drain Exclusion"). See Exhibit 3.

4     45. Pursuant to the language of the Sewer and Drain Exclusion, the policy
5 contained a provision for additional coverage in Section A(5)(r)(2) &(3), which

6 states:

7                We will pay for loss of or damage to Covered Property
8                caused by water that backs up or overflows from a sewer

91               or drain, sump pump well or similar device designed to
10               prevent overflow seepage or leakage of subsurface water.
11               HOWEVER, we will not pay for loss or damage that
12               results from sewer back-up or sump pump overflow that
13               occurs during the period beginning 10 days before and
14               ending 10 days after a"flood" on the described premises.
15               The most we will pay for loss or damage under this
16               coverage is:
17                   (a) $5,000 per building; or
18                   (b) $25,000 in any one policy period, regardless of the
19               number of losses;
20               unless a higher Limit of Insurance for Back Up Of Sewer
21               Or Drain Water Damage is shown in the Declarations.
22 See Exhibit 3.

23     46. Under the Sewer and Drain Exclusion and the corresponding additional
24 coverage provision in Section A(5)(r)(2) &(3) of the policy, Nationwide limited its

25 coverage to $5,000.00 for the loss at issue.

26     47. Nationwide breached its insurance contract with ERGS, among the other
27 legal violations listed below, by denying full policy coverage for the loss when the

28

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1 case law and relevant policy provisions require Nationwide to provide full coverage
2 ERGS's claim.
3
4                              FIRST CAUSE OF ACTION
 5                         (BREACH OF INSUR.ANCE CONTRACT)

 6     48. ERGS incorporates and includes by reference herein paragraphs 1— 47 of this
 7 Complaint.
 8     49. Nationwide and ERGS formed a valid contract for Nationwide to provide'
 9 ERGS insurance covering the Property.
10     50. ERGS performed the terms of the insurance contract, or was excused from
11 performance of the terms of the insurance contract.
12     51. Nationwide breached the terms of the insurance contract and corresponding
13 policy by failing to provide full coverage for ERGS's loss at the Property as required
14 by the terms of the contract and corresponding policy provisions.
15     52. ERGS suffered damages caused by Nationwide's breach of the insurance
16 contract in excess of $50.000.00.
17     53. ERGS incurred attorney's fees and costs as a form of special damages
18 resulting from Nationwide's breach of the insurance contract.
19                           SECOND CAUSE OF ACTION
20        (UNFAIR PRACTICES IN SETTLING CLAIMs - BR.EACH OF NRS 686A.310)

21     54. ERGS incorporates and includes by reference herein paragraphs 1— 53 of this
22 Complaint.
23     55. Based on the facts stated above, and incorporated herein, Nationwide
24 committed a breach of NRS 686A.310(1) by committing unfair practices in settling
25 ERGS's claim.
26     56. Specifically, Nationwide failed to effectuate a prompt, fair, and equitable
27 settlement with ERGS after Nationwide's liability for the claim was reasonably
28 clear, as required by NRS 686A310(1)(e). Specifically, Nationwide's liability to pay

                                             -8-

                                                                              PLO00008
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 1       ERGS's claim became reasonably clear after multiple correspondence from LP to
 2       Nationwide established ERGS's claim was not excluded from coverage under the
 3       Sewer and Drain Exclusion. Moreover, ERGS retained counsel to draft a letter
 4       informing Nationwide of its duty to provide coverage for the claim based upon the
 5       facts of the loss and applicable case law regarding the Sewer and Drain Exclusion.
 6       In response, Nationwide did not i.ndicate the facts provided by ERGS, and
 7       applicable case law mandating coverage for the claim provided by ERGS, were
     ~
8 inaccurate. Nationwide did not set forth additional facts or relevant case law that
 9       lwould remove ERGS's claim from coverage. Rather, Nationwide denied full poli
10 coverage for ERGS's loss without providing sufficient factual or legal information
11 ERGS in support of the denial. The inability of Nationwide to set forth suff"icie
12 factual and legal bases for denying ERGS's claim establishes ERGS's claim w
13 meritorious and, therefore, evidences Nationwide's failure to cover the claim wh,
14 i.ts liability was reasonably clear.
15          57. Nati.onwide committed a breach of NRS 686A.310(1)(n) by failing to provide
16 the applicable law upon which it denied ERGS's claim. Specifically, NRS
17 686A.310(1)(n) requires the insurer to provide a reasonable explanation of the
18 applicable law upon which it premi.sed the denial of the insured's claim.
19 Nationwide failed to provide the applicable law upon which it relied in denying
20 ERGS's claim. ERGS's insurance broker, LP, requested Nationwide provide the
21 applicable law that merited denial of ERGS's claim. Nationwide did not provide the
22 applicable law in response to LP's request. ERGS demanded Nationwide provide
23 the law supporting denial of its claim as part of a demand letter for coverage to
24 Nationwide and, still, Nationwide failed to provide the law supporting denial of
25 ER.GS's claim. Therefore, Nationwide committed a violation of NRS 686A.310(1)(n)
26 by failing to provide the law supporting denial of ERGS's claim, even after m
27 requests made by ERGS through its legal counsel and LP.
28

                                                m

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Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 11 of 66




 1     58. Nationwide committed a breacb of NRS 686A.310(1)(1) by using one porti
 2 of the policy to influence coverage and settlement under a separate portion of the

 3 policy. Specifically, Nationwide unlawfully used Sections A(5)(r)(2) &(3) of the

 4 policy to deny full coverage for the loss under the policy. In other words,

 5 Nationwide improperly used an additional coverage provision to limit Nationwide's

 6 financial responsibility to ERGS to the amount of the additional coverage, rather

 7 than provide full policy coverage for the loss as required by the terms of the policy.

 8 Such manipulation of one provision of the policy against another to limit the

 9 financial exposure of the insurer constitutes an unfair practice in settling claims of

10 the insured under NRS 686A.310(1)(1).

11     59. NRS 686A.310(2) states an insurer is liable to its insured for any
12 sustained by the insured as a result of the commission of any act set forth in

13 686A.310(1). Therefore, Nationwide is statutorily liable for the damages it ca

14 ERGS flowing from Nationwide's violations of NRS 686A.310(1).

15     60. ERGS incurred over $50,000.00 in damages as a result of Nationwide's
16 l unfair settling of claims.

17     61. Nationwide's breaches of NRS 686A.310(1) have forced ERGS to
18 attorney's fees and costs as a form of special damages in this matter.

19                                THIRD CAUSE OF ACTION
20              (BR.EACF3 OF FIDUCIARY DUTY BETWEEN INSURER 8i INSUR.ED)
21     62. ERGS incorporates and includes by reference herein paragraphs 1— 61 of
22 Complaint.

23     63. Nationwide had a f"iduciary relationship with, and duty to, ERGS because
24 Nationwide was under a duty to act for, or to give advice for, the benefit of ERGS

25 upon matters within the scope of its fiduciary relationship, in this instance
26 insurance coverage for the Property.
27     64. Nationwide breached its fiduciary duty by committing tortious conduct
28 against Nationwide as alleged in this Complaint, including but not limited to,

                                            -10-
                                                                              PLO00010
                                                                       d


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 1 failing to com.ply with reasonable requests from ERGS to provide information, law,

 2 and facts relevant to Nationwide's denial of full policy coverage for the claim. See

 3     Stalk u. Mushkin, 125 Nev. 21, 28, 199 P.3d 838, 843 (2009); see also Powers u.
 4 United     Servs. Auto. Ass`n, 114 Nev. 690, 700, 962 P.2d 596, 602 (1998), opinion
 5 modif'ied on denial of reh`g, 115 Nev. 38, 979 P.2d 1286 (1999).

 6       65.ERGS suffered damages greater than $50,000.00 caused by Nationwide's
 7 (breach of fiduciary duty.
 81      66. ERGS incurred attorney's fees and costs as a form of special damages because
 9 of Nationwide's breach of fiduciary duty.

10 I                            FOURTH CAUSE OF ACTION
11                     (BAD-FAITH REFUSAL TO PAY INSURANCE CLAIM)
12        67. ERGS incorporates and includes by reference herein paragraphs 1— 66 of this
13 Complaint.

14        68. Nationwide had a duty to provide full policy coverage for ERGS's claim.
15        69. Nationwide did not have a reasonable basis for disputing full policy coverage
16 for the claim, evidenced by Nationwide's inability to provide a legal basis or

17 sufficient factual basis for denial of full policy coverage on the claim.

18        70. Nationwide knew of, or recklessly disregarded, the fact that there was no
19 reasonable basis for denial of ERGS's claim for full policy coverage on the loss.

20        71. ERGS suffered damages in excess of $50,000.00 resulting from Nationwide's
21 bad-faith refusal to pay ERGS's insurance claim.

22        72. ERGS incurred attorney's fees and costs as a form of special damages
23 resulting from Nationwide's bad-faith refusal to pay an insurance claim.

24        73.Nationwide is responsible for punitive or exemplary damages based on itss
25 bad-faith refusal to pay ERGS's insurance claim.

26           WHEREFORE, ERGS prays for the following relief against Nationwide:
27              a) For damages as allowed by lavc and/or equity subject to proof at trial in
28                 excess of $50,000.00;
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                                                                                 PLO00011
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1            b) For punitive damages pursuant to the 2nd, 3rd and 4th Causes of A
2               alleged herein;
3            c) For attorneys' fees as allowed by law and/or equity;
4            d) For costs as allowed by law and/or equity; and
5            e) For any other remedy or form of relief this Court deems just
6               appropriate.
7                                   AFFIRMATION
 8        The undersigned hereby affirms this document does not contain the social
 9 security number or legally private information of any person.

10        DATED this 30th day of May, 2017.
11'
                                          By:/s/Patrick R. Millsap, Esq.
12
                                                Patrick R. Millsap, Esq.
13                                               Nevada Bar No.: 12043
                                                 F. McClure Wallace, Esq.
14                                               Nevada Bar No.: 10264
                                                 WALLACE & MILLSAP
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17                                               Fax: (775) 683-9597
                                                 Patrick,@wallacemillsap.com
18
                                                 McClure@wallacemillsap.com
19                                               Attorneys for ERGS, lnc.
20

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                                                                           PLO00012
Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 14 of 66




                          ERGS, INC. Plaintiff,

                                    V.

                    NATIONMrIDE; ROE Entities I-X;

                            Case No. CV17- 01040
                                 Dept.10

Exhibit                        Description                Pages

  1•      ERGS, Inc — NV Secretary of State                 1
  2.      Nationwide — NV Secretary of State                1
  3.      Nationwide Insurance Policy                       39
  4.      LP correspondence dated                           6




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Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 15 of 66
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             XHIBIT 461"
                                                                    PLO00014
   Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 16 of 66




                                               ERGS, 6NC.
Business Entity lnformation
               Status: Active                                       File Date: 5/11/1959
                Type: Domestic Corparation                    Entity Number: C602-1959
      Qualifying State: NV                                List of Officers Due: 6131/2017
         Managed By:                                         Expiration Date:
      NV Business ID: NV19591000465                     Business License          5l31/2017



Additional Information
                          Central Index Key:



Registered Agent Information
                Name: GEORGE F. PEEK                               Address 1: 9345 LEMMON DR
            Address 2:                                                     City: RENO
                 State: NV                                          Zip Code: 89506
               Phone•                                                      Fax:
    Mailing Address 1:                                      Mailing Address 2:
          Mailing City:                                         Mailing State:
      Mailing Zip Code:
           Agent Type: Noncommercial Registered Agent



Financial Information
   No Par Share Count: 0                                      Capital Amount:     $ 25,000.00
      Par Share Count: 25,000.00                              Par Share Value:    $ 1.00


  j   Officers                                                                     ❑ Include Inactive Officers
President - GEORGE F PEEK
      Address 1: 9345 LEMMON DR                               Address 2:
            City: RENO                                            State: NV
       Zip Code: 89506                                          Country: USA
          Status: Active                                          Email:

Secretary - GREGORY F PEEK
      Address 1: 9345 LEMMON DR                               Address 2:
            Clty: RENO                                             State: NV
        Zip Code: 89506                                         Country: USA
          Status: Active                                          Email:

Treasurer - GREGORY F PEEK
       Address 1: 9345 LEMMON DRIVE                           Address 2:




                                                                                                      PLO00015
Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 17 of 66
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        EXHIBIT 662"
                                                                   PLO00016
     Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 18 of 66




                                              ~ • r
Business Entity Information
                Status: Active                                          File Date: 1212312014
                  Type: Service Mark                              Entity Number: E0652352014-9
       Quaiifying State: OH                                  List of Officers Due:
          Managed By:                                            Expiration Date: 12/23/2019
       Date of 1st use in                                          Date of 1st use
                             10/1911955                                              10/19f 1955
                Nevada:                                               Anywhere:
         Ciassification: 102                                                                                      ~



Appiicant
                             NATIONWIDE MUTUAL                                       ONE NATIONWIDE PLAZA 1-35-
                 Name:                                                 Address1:
                            INSURANCE COMPOANY                                       204
             Address 2:                                                      City: COLUMBUS
                  State: OH                                             Zip Code: 43215



Additional Information
                          Goods and Services: INSURANCE AND FINANCIAL SERVICES



Registered Agent Information
No Reg'isberred Agerrtassocialsd wiih this company


Financial Information
    No Par Share Count: 0                                        Capital Amount: I $ 0
iNo stock records found forttais company

 _:j Officers                                                                         p Include Inactive Officers
No active officers found forthis company


 _=j ActionslAmendments
            Action Type: Mark Registration (5 yr Duration)
     Document Number: 20140823013-04                                   # of Pages: 3
               Fiie Date: 12/23/2014                               Effective Date:
(No notes for this action)




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Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 19 of 66
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          EXHIBIT "3"
                                                                 PLO00018
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                                                                                                                                                   BIYSINESSUdVNERS
                                                                                                                                                        PB 00 02 0411
                                                PREIM6ER St1SfNESSOWNERS
                                                PROPERTl( COVERAGE EORM
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                                   PREMIER BUSiNESSC3WNERS
                                   PR®PERTY COiiERAC E F®RM
   tlarious pnsvisions in fihis policy restrict coverage. Please read the en5re poficy carefully tfl determine rights, duties
   and what is and is not covered.
   Throughoutthis po(icy the words "you' and "your' refer to the Named insureds shown in the Declarations. The
                                                                                                                                             a
   words "we' ,'us' and "our' refer to the Company prov►dtng this insurance. ather words and phrases that appear in
   quotation cttarks have special meaning. Please refer to Section H. PRaPERTY DEFINIT10NS.
   A. C'AVERAGES                                                                                (a) Addltions under omstruction,
       We wW pay for direct physical loss of or damage                                               atterations and repairs bo tfte
       to Covered Property at the described premises in                                             buildings or strvckures;
       the Declara5ons caused by or resulfung from any                                          (b) Nkateriats, equipment, supphes and
           Covenjd Cause of Loss.                                                                  temporary structures, on or vrithin
           1. COVERED PRC3PERTY                                                                    1,0q0 feet of the aescnbed
                                                                                                   premises, used for rnaking
               Covered Property indudes Buiidings as                                               addtions, afterations or repairs to
               described un<iar paragraph a. belovr,                                               the buitdings or strtictures; and
               Business Personal Property as described
               underparagraph b. below, or both, depending                                 (T) Garages, storage bu8dirigs, spas,
               on whethera Lknit of Insuranc:e is shown in                                      swimrning pools, fenc:as, retainiig
               the Deciarabons for that type of property.                                       waqs or other appurtenantstructures
               Reganifess of whether coverage is shown in                                       usual tD your business, but oniy it:
               the DeGarafions for Buildings, Business                                          (a) Coverage is not provtded for such
               Personal Property, or botth, ttrere is no                                              strudures underthe Appurtenant
               coverage for property described under                                                  Struuctures Additional Coverage;
               paragraph 2, PROPERTY NOT COVERED.                                                    and
               a. t'3a"ngs, meaning the descxibed                                                (b) Such structures are then
                    buiidings and structures at the described                                   described in the Deciarations.
                   premises, inciuding:                                                                                                      ~
                                                                                      b. Business Persoaral P€operty kocated in
                   (1) Cornpleted additions;                                               or on the buddings at ttre descrfised
                   (2) Flxtures, induding outdoor fixtures;                                premises or in the open (or in a vehide)
                                                                                            within 1,000 feet of the described
                   (3) Permanenttyinstalled:                                                premises, consis8ng of the following:
                        (a) Allachinery;                                                    (1) Personal property you own t#sat is
                        (b) Equipment; and                                                       used in your business, including but
                        (c) Tanks, inciuding pumps;                                              not firritted to tumiture, fixtures,
                   (4) Your personal property in apartrnents,                                    machinery, equipmentand "stock";
                        rooms or common areas tumished by                                   (2) Personal property of others that is in
                        you as tandiord;                                                        your care, custDdy or control, except
                   (5) Personal property owned by you that                                      as othenwfse prov'ided in Cond'rfion S.
                        is used to maintain or service                                           Loss Payment under Secfion E.
                        buiidtngs or sttuctures or the                                          PRaPER1Y LOSS COND1TIOhlS;
                        pramises, induding::                                                (3) Tenant improvements and
                        (a) Fire extinguishing equipment;                                        betterments. improvernents and
                                                                                                 betterments are fixtures, ahgrat'ions,
                        (b) Outdoor fumiture;                                                    instaliatlons or addOons:
                        (c) Fioor coverings;                                                     (a) IVlade a part of the budding or
                        (d) AppGances used for retrigen3ting,                                        struchire you occupy but do not
                            vant$a6ng, cooking, dishwashing                                          own; and
                            or taundering; and                                                   (b) You acquinstf or made at your
                        (e) Outdoor raft or television antennas                                        expense but cannot IegaNy
                            (inchuaing satatfite dishes) and their                                     rensove; and
                            lead-ei vuidng, mast and towers;                                (4) Leased personal property whlch you
                   (6) If not covered by other insurance:                                       have a conbadual responslbft to              0
    Page 2 of 39                   Midudes aopyrigMed material of Insurarme Services Offioe, Inc., vrith its perrrimsion.   PB 00 02 04 11
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                                                                                                                                P$ 00 02 04 11
                    (4) Leased personai property which you                                 k. "Cotrtputer(s)" whioh are pennanenUy
                        have a contractuai responsibMty to                                     instalied or designedto be permanentiy
                        insure, uniess otherwise provided for                                  instaiied in any aircraft, wateraraft,
                        unrler paragraph (2) personal                                          motortn.tdc or other vehicie subject to
                        property of others above,                                              motor vehicle registration. This paragraph
                    (5) Exterior buikiing giass, if you are a                                 does not appiy to "computer(s)" while
                        tenant and no Limit of (nsurance is                                    heid as "stock";
                        shown in the Deciaraiions for Buiiding                            1. "Eiecbronic data", except as prov"Kled in
                        property. The gtass must be owned by                                   the Eiectranic Data or Equipment
                        you or in your care, cusiody or contro!                                greakdown Additional Coverages. This
                        and you musi be contractuaiiy                                          paragraph [. does not apply to your
                        obligated to repair or reptaca it We will                              'stock" of prepackaged software.
                        aiso pay for necessary repair or                               3_ COYERED CAUSES OF LOSS
                        repiacement of encasing frames.
                                                                                           This Coverage Forrn insures against Risks Of
              Z. PROPERTY NOT COVERED                                                       Direct Phys'icaf Loss uniess the loss is:
                  Covered Property does not inciude:                                        a. Excyuded.in SecSion B. EXCLUSIONS;
                  a. Aircraft, automobiies, motortrucks and other                           b. LimiUed in paragraph A.4_ LiMfTATiONS
                     vehicies subjectto motarvehicle registrafoon;                                in this section; or
                  b. "Money" or "securities" except as
                                                                                            c.    Limited or exciudad in Section E.
                     provtded in'
                                                                                                  PROPEFtTY LOSS CONDITIONS or
                       (1) Money and Securities Addiiional                                        Sectuon F. PROPERTY GENERAL
                           Coverage;                                                              CONDITIONS.
                       (2) Computer Fraud And Funds Transter                           4. iSNAITQTIOAlS
                           Fraud Add~tional Coverage; or
                       (3) Empioyee Dishonesty under Section                              a. We wifJ not pay for tass af or damage to:
                           G. OPTlONAI_ COVERAGES;                                                (1) Steam bohers, steam pipes, steam
                  c. Contraband, or property in the course of                                          engines or stsam turbines caused by
                     iliegai transportaiion or trade;                                                  or resut6ng from any condition or event
                                                                                                       inside such equipmenL But we wili pay
                  d. Land (inciuding iand on which the properry                                        for loss of or damage to such
i                    is iocated), water, growing crops;                                                equipment caused by or nasultng irom
                  e. Outdoor signs (other than signs attached                                          an explosian of gases or tuel within tthe
                     to buikiings), trees, shrubs, piants or iawns                                     furnace of any fired vessei or within the
~                    (other than 'stock` of trees, shrubs or                                           flues or passages through with the
I                      piants), all except as pmvided'in the:                                          gases of combustaon pass.
I                      (1) Outdoor Signs Coverage Exthnsion; or                                       This iirrtitafion does not appiy to ioss or
1                      (2) Outdoor Trees, Shrubs, Plants and                                          damage prvvided under the Equipment
                           Lawns Coverage Extension.                                                  greakdown Additionai Coverage.
~                 f.   Watercraft (induding motors, equipment                                     (2) Not water boiiers or other watar
                       and accessories) whAe afioat;                                                  heating equipment caused by or
                  g. Gasoline or diesel fuel eontained in above                                        resulting from any condition or event
                     ground or underground storage tanks;                                               insK}e such boifers or equipment
                                                                                                        afher lhan an expiosion.
                  h. Praperty that is covered under another
                     coverage fonn of this or any other poticy                                          This funitatian does not appiy to ioss or
                     in whict► it is more specifxatly descnbed,                                         damage prov~ed under the Equipment
                       except for the excess of the amount due
                                                                                                        g~kdtswn Addtfional Coverage.
                       (whether you can ooilect it or not) trom                                   (3) Property that is missing, where fhe
                       that other insurance;                                                            oniy evidence of the loss or damage is
                  j.   Grain, hay, siraw or other crops while in                                        a shortage disdosed on taking
                       the open;                                                                        inventory, or other instances where
                                                                                                        thero is no pfiysical evidence to show
                  {.   Accounts, ba1s, food stamps, ofher                                               what happenedto the property. This
                       evidences of debt, accounts receivabie or                                        i►mitafion does not appiy to Money and
    ~                  'tiraluabie p~rs and records' ; except as                                        Securfties Add►tionai Coverage.
                       otherwise provided in this policy;

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                                                                                                                             .-.    __   --    -   -.   '---     ,




                PB 00 02 0411
                            (4) Property lhat has been transfemed to                                  (3) $2,500 for pattems, tlies, rnoids and
                                  a person or to a place outside the                                       fomns.
                                  ciestxibed pramises on the basis of                       6. ApMTION,qL CtaVERAtaES                                      ~
                                  unauthorizedinstructions.
                                                                                               a, Debris Removal
~                                 This lirnitat♦on does not appfy to toss
                                  or damage provided under the                                     (1 ) We wiR pay your expes►se to remove
~                                 Llnauthorized Susiness Card ltse or                                   debris of Covered Property caused by
                                  Computer Fraud.                                                       or resuNktg fnom a Covereci Cause of
                                                                                                            Loss that occurs during 1he poficy
                             5 Fences, spas, outdoor swimming poots
                             ()                                                                                      The e     nses wilbe ard oni
~                                 and reiated equipment, retaining waNs,                                    if~tt ey are reported to us in wtit;ng Y
                                  pavements, bulkheads, piAars, wharves                                   winiin 180 days of the date of direct
                                  or docks caused by freezing or thawing,                                 physicat toss or damage.
                                  impact of wateraaft, or by the pressure
                                  or weight of snow, sieet, ice or water                              (2) The most we wdl pay under this Debris
                                  whether driven by watd or noL                                           Remova! Addrrtional Coverrage is:
I
                             (6) 'The interior of any buiid'ing or structure,                             {a} 25% of the amount we pay tor the
                                  or to persona{ proparty in the buifding or                                   cfiect physica! ioss of or damage b
I                                                                                                              Covered Pnaperty; ptus
    I                             structure, caused by or resut5ng fmm
                                  rain, snow, sieet, ice, sand or dust,                                   (b) The deductibte in this policy
    4                             whether driven by wind or not, unless:                                       appficabfe to that toss or damage.
    I                             (a) The bui4dmg or structure 6rst                                       Thts Rebris Removal Additional
    (                                  sustains damage by a Covered                                       Coverage w1► not inarease the Limiis
                                       Cause of Loss tD its roaf orvtaUs                                  of lnsurance provideci by this pokcy.
    ~                                  through which the rain, snow,                                       HOWEVER, th'ss fimitabon does not
                                      stest, ice, sand or dust enters; or                                   app}y to any addifional debris removai
    ~                           (b) Ttie ioss or damage is caused by or                                    fimit provid®d in paragnsph (4) bebw.
                                    results from thawing of snow, sieet                                (3) This Debris Removat Additional
    ~                               or ice on ihe buflding or structure.                                   Coverage does not apply to costs to:
                                                                                                                                                           AOL
                        h. ►Ale will not pay for loss of or damage to                                      (a) Extract °poliutants' trom land or           qp
    ~                      the following types of property uniess                                               water,
                           caused by the "spedfied causes of ioss"                                         (b) Remove, restore or replace
    ~                      or bubdmg gtass breakage_                                                            poluted land or water; or
    (                        (1) Fragiie articies such as giassware,                                       (o) Extract "pofkatants' from Govered
                                  sta~ary, marbies, chezaware and
        ~                         poroelsins, if broken. TThis frmitation                                         Pm~
                                  does not appiy to:                                                   (4) If
                                  (a) Gfass that is part of the exterior or                                 (a) The sum of cfireot physical ioss or
    ~~                                interior of a budding or struchtre;                                       damage and debris removal
                                                                                                                expense excxeeds the Limit of
                                  (b) Containers of property held for                                            lnsurance; or
                                       sase; or
                                                                                                            (b) The debris removal expense
                                  (c) Phatographic or scientific                                                  exceeds the amount payable under
        4                             instrument fenses.                                                          the 2596 Debris Removal coverage
        I                c. For k:ss or darriage by theft, the foNowing                                        Gmitatton in paragraph (2) above;
                             types of pnoperty are covered onty up Eo                                       we wE pay up ~ an additional
                             the Gmtts shown:                                                               $25,000 for each bcation in any one
                             (1) $2,500 for furs, tur gam►ants and                                          occurrence underthis Debris
                                 garments tsimmed wfth tur.                                                 Removai Adtfltionat Coven3ge.
                             (2) $5,000 tor jawelry, watches, watch                               b. Preservafron Of Properiy
                                 movements, jewels, peafis, preaous                                  ()t tf k is neces sarY to move Covered
                                 and semi-procious stones, butfion,
                                 Sotd, s~7ver, pfa~num and other                                           P►~OPer<y from fhe described prerrrises
                                                                                                           to preserve ft b'om bss or damage by a
                                 preclous alioys or metafs. This lunit                                     Covered Caruse of Loss, we w~! pay tor
                                 does not apply to jewetry and watc.hes
        ~                         worih $250 or tess per item,                                              m►Y ~~ Physical toss of or c~mage to           ®
                                                                                                            that property:
                Pig6 4 ot 39               inchtdes copyrightad matarial of Insurance Servioes p}{ioa, 1rt¢., w@h its pennission.    PB 00 02 04 11
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                                                                                                                                   PB 00 02 04 11
                               (a) While it is being moved or whiie                                      more of the following:                          (
                                  temparariiy stored at another                                          (a) Bufickng decay that is hidden
                                  premises; and                                                               from view, uniess the presence of          '
                              (b) Oniy if the ioss or damage occurs                                           such decay is imown to an
                                  within 45 days aftr the pnaperty                                            insured prior to cofiapse;
                                  is first moved.                                                        (b) insect or vermth damage that is
                         (2) This Preservat+on of Property Add"ntional                                        hidden trom view, untess the
                              Coverage wAl not increase the L'rmits of                                        presence of such decay is imown
                              Insurance provided by this poficy_                                              to an insured prior to collapse;
                      c. Fire Depart®ent Service Char9e                                                  (c) Use of defective material or
I                        (1) YVhen the fire department is called to                                           methods in construction,
I                             save or protect Covered Property from                                           remodeTang or renovation if the
                              a Covered Cause of Loss, we will pay                                            abrupt collapse occurs during the
                              up tD$25,000 for your liablity for fire                                         course of the construction,                ~
(                             department service charges:                                                     remodeFmg or renovation.
I                             (a) Assumed by contract or                                                 (d) Use of detective materials or
                                   agreement prior to ioss; or                                                methods in construction,
~                             (b) Required by iocal ordinance.                                                remodeiing or renovation if the
                                                                                                                abrupt collapse occurs atter the
                         (2) The limit for this Fire i7epartmant                                                construction, remodeling or
                              Service Charge Addifnonai Coverage is                                             renovatiorn Is complete, but only if
                              in addition to fhe L.'units of Insurance.                                         the co8apse is caused in part by:
I                        (3) No deduc:tibie applies to this Frce                                                (i) A cause of ioss listed in
                              Departrnent Service Charge                                                              paragraph (2)(a) or (2)(b);
                               Additional Coverage.
                                                                                                                                    f' the "speafied
                      d. Fire Extinguisher Reein~ge                                                             (p) causes o l oss
                         (1) Vue wiil pay 1he expense you incur to                                              (iii) Breakage of bufiding glass;
                               recharge portable fire extinguishers
    Alk                                                                                                         (w) Weight of peopie or personal
                              when used to combata covered fire.
                                                                                                                    ProPenY; or
                          (2) This Fire Extinguisher Recharge
                              Additional Coverage is not sub}ect to                                          (v) Weight of rain, snow, siaet or
                                                                                                                 ice, that collects on a roof.
                               the L'imtts of Insurance.
                          (3) No deductibie applies to this Fire                                     (3) This Coliapse Addttional Coverage
                                                                                                         does not apply ta:
                              Exbngu'ssher Recharge Addifional
                              Coverage.                                                                  (a) A building or any part of a
                                                                                                                buiidng that is in danger of fafling
                      e   Cdlapse
                                                                                                              down or cavmg tn,
                          The coverage provided under this Coikapse
                          Additional Cover-age apphes only to an                                          (b) A part of a buPiding that is standing,
                          abrupt coliapse as described and limited in                                         even if it has separated trom another
                          paragraphs e.(1) through e.(7).                                                     pa►'t of the buking; or
                          (1) For the purpose of this Coliapse                                            (c) A building that is standtng or any
                              Addi6onal Coverage abrupt coAapse                                               Pwt of a building that is standing,
                                                                                                                evsn 'rf It shows evidence of
                              n►eans an abrupt falfing down or
                                                                                                              croc~g, buiging, sagging,
                              caving in of a building or any part of a                                        bend.ing, Seaning, settf'tng,
                              bugding with the resutt that the
                              bulding or part ot the buiidmg carmot                                           shrthkage or ezpansion.
                              be occupied for its intended purpose,                                  (4) V1fdh m~ctb the foqowing ProPertY
                          (2) We wiU pay tor direct physical loss of or                                   (a) Outcioor radio or teievision antennas
                               danrage to Covered Property, caused                                              (induding satellite dishes) and their
                               by abrupt collapse of a buiiding or any                                          lead-in wiring, mast or towers;
                               part of a buiiding that is insured under                                   (b)   Awnings, gutters and downspouts;
                               this poGcy or that cwntains Covered                                        (c)   Yard faciUres;
                               Property insured under this policy, if                                     (d)   Outdoor swmuning pools;
    ®                          such coliapse is caused by one or                                          (e)   Fenoes;
              PB 00 02 04 11            htidudes copyrighteti material oi Insurance 3enrices Office, incc, with its permisslon.        Pa9e 5 Of 39
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                     (t} Bukheads, pifings, piers,                                             atso pay fhe cost to tear out and
                         wharves and docks;                                                   replace any part of fhe bupding or
                     (g) Beach or diving piatio►ms or                                         structure bo repalt' darnage to the
                         appurtanances;                                                       system flr apphance from which the
                                                                                              water or other substanae escapes.
                     (h) Retaining walls; and
                     p} Nfalks, roadways and other                                        (Z) We will notpay the costto repair any
                                                                                               defeat that caused the ioss or damage
                         paved surfaces;
                                                                                               exceptas providedin Equipment
                     if an abrupt coNapse is caused by a                                       Brsakdown Addibonal Coverage; but we
                     cause of ioss iisted in (2)(a) fhrough                                    wdl pay the cost to repair or reptace
                     (2hd) above, we wili pay for toss or                                      damaged parts of fire extinguishing
                     damage to that Property in(a)                                             eQuipmentif tfie damage:
                     through (7 above only if sucfi ioss or
                                                                                               (a) Resuits in discharge of any
                     darnage is a c6rect resutf of abrupt
                                                                                                   substance from an automatic fse
                     coliapse of a bulfding insunad under
                                                                                                   protect;on systam; or
                     this poGcy and the pnaperty is
                     Covered Property underfhis poficy.                                        (b) Is directty caused by frsezmg.
                 (5) If personal property abruptly fails                                (3) This Water Damage AddiUonaf
                      down or caves in and such cofiapse                                     Caverage wiD not increase the l lmits
                      is not the result of abrupt wffaPse of                                 of Insurance provided in this poGcy.
                      a bufkfing or any part of a buffdng,                           g. Business I~aomte
                      we wih pay for loss of or damage to                               ( i) Business Oieccon►e witb Ord'maty
                      Covered Property caused by such                                        Paymfl limitalion
                      cofiapse of personW property oniy tf:
                                                                                               (a) We wal pay for fhe actua! bss of
                     (a) 71The coiiapse of personal property                                       "business incame` you sustain due
                         was caused by a Cause of Lose fisted                                        to the necessary suspens'lon of
                         in (2)(a) through (2}(d) above;                                             your 'operations' during the
                     (b) The personaf property which                                                 `perlod of restoration'. The
                         coktpses is inside a fyuiiding; and                                         suspension must be caused by
                     (c) The property whiott collapses is not                                        direct physical loss of or damage to       ~
                         of a kind 6sted in paragrraph (4),                                          Property at fhe described premises.
                         regardess of whefher that kind of                                           The ioss o► darrage must be                I
                          property is considered to be                                               caused by or resu{t from a Covered
                          personal property or real property.                                        Cause of Loss. With respect to ioss
                     The coverage stated in this paragraph                                           of or damage to personal propetty
                     (5) does notappiy to personal property                                          in the open or personal property in
                     'rf maning and/or scxatching is the onty                                        a vehicie, tfie described prentises
                     damage to lhat personal property                                                include the area within 1,000 feet
                     caused by codiapse.                                                             of the sita at vuhieh the described
                                                                                                     promises am IDmted'
                 (6) This Coliapse Rddi6ona4 Coverage
                     does not apfly tc) Personal Property                                       (b) With respect to the reQuirernents
                     that has not abrupfiy fafien down or                                           set forth in fhe preceding
                     caved in, even if fhe persona!                                                  PaWraph, ff you occupy onh' part
                     property shows evidenoe of cracidng,                                            of the sha atwhich the described
                     bu~S, a99s ing, bendi~►S, teaning,                                              premises are iocated, your                     ~
                     settrmg, shrinkage or expansion.                                                premises means:
                 (7) This CoNapse Additionai Coverage                                                () T're portion of the buifding                ~
                     w01 not incxease the Lmft of                                                         which you rent, lease or
                     Insurance provided in this poficy.                                                    000upy; and                              ~
            f.   Vldater Damage, ather Liquift, Powder                                               (ii) Any area within the bui d'ing or
                 ~~~n ~~ ~~                                                                                on the sfte at which the
                                                                                                           descnbed premises are
                 (1 ) ff a covered toss to which fhis                                                      iocated, if that area services,
                      insun3nce app6es was caused by or                                                    or is used to gain access to,
                     resufted from water or other Gquid,                                                   the described premises.             ®'
                     powder or moften material, we wal

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                                                                                                                            PB 00 02 04 11
                           (c) We wil only pay foi ioss of                                            premises caused by or resulting
                               "business income" that you sustain                                     from any Covered Cause of Loss.
                               during the 'period of restoraton"                            (3) This Business income Additionai
ip                             and that occurs within the number                                 Cozrerrage is not subject to the Limits
                               of consecu6ve mont'tes shown in                                   of Insurance.
                                the Declarations for Business
                                Income—Actual Loss Sustained                             h. Ectra Expense
                               after the date of direct physical koss                       (1) ViFe wl pay necessary "extra
                                or damage. We wi11 oniy pay for                                  expense' you incur during the "period
                               "ordinary payroA expen ses' for the                               of restoratan" tiw you would not
                                number of days shawn in the                                      have iaxx:urred if there had been no
                                Declarations for ardinary Payroti                                drrect physical loss of or damage ta
                                Limit foflowing the date of direct                               property at the described premises.
                                physical loss or damage.                                         l-he loss or damage must be caused
                                                                                                 by or resuft trom a Covered Cause of
                       (2) Extended Business Income
                                                                                                 Loss. Wiih respect to bss of or
                           (a) [f the neoessary suspension of                                    damage to personal property in the
                                your 'operrations" produces a                                    open or personal property in a
                                "business income" loss payabte                                   vehicle, the tlescrfbed premises
                                under this policy, we wrll pay for the                           mciude the area within 1,000 teet of
                                actual ioss of "business income"                                 the site at which the descn'bed
                                you incur during Ihe period ihat:                                premises are iocated.
                                ('s) t3egins on the ciate property                          (2) With respect to the requirements set
                                      exc.spt finished stock is                                  forth in the preceding paragraph,'rf
                                      actually repaired, rebuflt or                              you occupy only part of the site at
                                      replaced and 'operations' are                              which the descn'bed premises are
                                      resumed; and                                               located, your premises means:
                                 (ii) Ends on the eariier of:                                    (a) The portion of the buildmg which
                                      i. The date you could                                            you rent, lease or occupy; and
Alft                                      restore your `operations",                             (b) Any area within the buiiding or on
                                          wlth reasonable speed,                                       the site at which Ote descnbed
                                          to the level which would                                     premises are lacated, if that area
                                          generate the "business                                       services, or is used to gain access
                                          income" amount that                                          to, the described premises.
                                          wouid have existed if no
                                                                                             (3) We wfll only pay for "extrra expense"
                                          direct physicai ioss or
                                          damage had occurred; or                                that occurs within tl'ie number of
                                                                                                  consecufive monbes shown in the
                                      ii. Sixty (60) consecutrve days                             Declarations for Extra Expense after
                                          after the date detarmined in                            the date of direct physical loss or
                                          (2)(a)(i) above, unless a                               damage.
                                          greater number of days is
                                          shown for Extended Business                        (q) This Extra Expense Add'stional
                                           Income )ncreased Period of                             Coverage is not subject to the Limits
                                                                                                  of insurance.
                                           Indenv►ity in the Declaratwns
                                          at that described premises.                     I.   Pdlutant Clean Up Artd Remova)
                                 HdWEVER, Extended Business                                    (1) We will pay your expense to extract
                                 income does not apply tD loss of                                  'pofkutants' from tand, water or
                                 "business income" incurred as a                                   Covered Property at the described
                                 resuR of unfavorable business                                     prernises ff the discharge, dspersai,
                                 conditions caused by the impact                                   seepage, migration, release or
                                 of the Covered Cause of Loss in                                   escape of the 'pollutants" is caused
                                 the area where the desoribed                                      by or results from a Covered Cause
                                  premises are located,                                            of Loss that occurs during the poGcy
                            (b) loss of a"business income" must                                    pGriod• The expenses wNl be paid
                                                                                                   only if ihey are reported b us in
                                 be caused by direat physical toss                                 wMing within 180 days of the date of
®                                or damage at the described
                                                                                                   direct physical toss or damage.
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                 (2) This Potiutant Clean Up And Removal                                atter the time of the frcst action of civil
                     Acidifionai Coverage does not appiy to :                           authority that prohibits access to the
                    (a) Costs to tast for, monttor or assess                            desc►ibed premises and wnN end:
                        the existence, concentration or                                 (1) 30 days attar the 6me of that action; or
                        effects of 'poiiutants'; or                                     (2) When your Civil Authortty coverage
                     (b) Any penaities or assessments                                       tor 'business income" ends;
                          that may be charged against you                               whichever is iater.
                          due to any statute, reguiafon or
                          ordinance.                                                    'fhe defmitions of Business income and
                                                                                         Extra Expense contained in the Business
                     But we wM pay for testing which is                                  inoome and Extra Expense Acidrtional
                     perfomTed in the course of extracting                              Coverages aiso apply to this Civl
                     the 'poliutants' from iand or water.                                Authority Adcftional Coverage. The Civil
                 (3) The rnost we wiA pay for each bcation                               Authority Addit♦onal Coverage is not
                     under Ihis Pollutant Ciean Up And                                  subject to the Limits of insurance.
                     Remaval Additional Coverage is                               k      pgoney Ordem Aed Coumterfeit Money
                     $26,000 for the sum of ail such
                     expenses arismg aut of Cavered                                      ( 1) We wip pay far ioss resutbng directly
                     Csuses of Loss occun-ing during each                                     from your hava~g accepted in gaod
                     separate 12 month period of this poficy.                                 taish, m exchan9e for merchandrse,
                                                                                              `money" or services:
                 (4) The iimit for this Pofi uta~nt Giean Up
                     And Removal Addffional Coverage is                                       (a) Money orders issued by any past
                     in addition to the Limits of insurance.                                       office, express company ar bank
                                                                                                   iha# are nat paid upan
            j.   Civp /tsuthotity                                                                presentation; or
                 VtFhen a Covered Cause of Loss causes                                      (b) "Counterteot money' that is
                 damage to property other ihan property at                                      acWired during the regutarr
                 the descrthad premises, we wll pay for                                         course of business.
                 the actuai ioss of Business Income you
                 sustain and necessary Extra Expense                                    (2) The mostwe wnll pay for any ioss
                                                                                            under this Money C+Itiiers l4nd
                 caused by action of civA authority that
                                                                                            Counterteit Money Addr~onai
                 prohibits access to ttte described
                                                                                            ~~~ge is $5.000.
                 premises, provided that both of the
                 foliowing appiy:                                                       (3) The rmnit tor this Money Orders And
                 (1) Access to the area immedlateiy                                          Counterfeit Monay Additional
                                                                                             Coverage is in addition to the Lrmits
                     surroundmg the damaged property is
                                                                                             of insurance.
                     prohibfted by civil authority as a result
                     of the damage, and the described                              (.   FoPgery Aed Attel afUon
                      premises are wiihM that area but are                              (1) Mle wgl pay tor ioss resuiting directly
                     not more than one miie from the'                                       from forgery or alteration of, any
                     damaged property; and                                                  check, draft, prornissory note, biil of
                 (2) The action of civil authority is taicen in                             exchange or similar wrilten promise
                      response to dangerous physical                                        of payment in 'money" ttlat you or
                     condi6ons resulfjrul from the diamage                                  your agent has issued, or that was
                     or continuation of the Covered Cause                                    issued by someone who
                     ot Loss that caused the damage, or                                     impersonates you or your agent.
                     the action is taken to enabte a civil                              (2) If you are sued tor refusing to pay the
                     authotity to have unimpeded access                                     checic, duaft, promissory note, bik of
                     to the damaged praperty.                                                exchange or simllar written promise
                 Civil Authority ooverage tor 'bus'mess                                      of payment frl "money", on the basis
                 income' wlil begin 72 hours attar the Ime                                   that it has been torged or a)tered, and
                 of the fnst acfion of civfl authordy that                                   you have our written consent to
                 prohib'sts access to the descxibed                                          defend against the suit, we wid pay
                 premises and wip appiy for a period of up                                   for any reasonable tegal expenses
                 to 30 days aRar covesage begins.                                            that you incur in that defense.
                 Civil Authority coverage far necessary                                  (3) For the purpose of this caverage,                ®
                 "extra expense" wiA begin immediateiy                                       chedc indudles a substituth check as
    pa" a 1✓1 39               fndUdBs cOpyfghled n191eT1W Of hSurallce.SeNIWs O11}OB, Inc., MRh ItS pefR11s51on.       PB OO v<, Q>! 11
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                                                                                                                          PB 00 02 04 11
                         defined in the Check Cfearing for the                                          due to the presence, growth,
                         21 s` Century Act, and will be treated                                         proliferation, spread or any
                         the same as the origina{ it n=pfaced.                                          activity of "fungr,, wet rot or dry
                    (4) The most we wiil pay for any toss,                                              rot; or
                         inciuding legal expenses, under th'ts                                    (b) Any costs assoc'tated with fhe
                         Addi6onal Coverage is $14,D00,                                                 enforcement of an ordinance or
                         uniess a higher Limit of tnsurance is                                          iaw which requires any insured or
                         shown in the Dedarations.                                                      others to test for, monitor, ciean
                    (5) The Gmit for this Forgery And                                                   up, remove, cwntain, treai,
                         Alteration Adcftonal Coverrage'ss in                                           detoxify or neutrafize, or in any
                         addition to the Limits of insurance.                                           way respond to or assess the
                 m. increased Cost Of Construction —                                                    effects of 'pofutants", "fungi", wet
                     t}aaeaged Property                                                                 rot or dry rot
                    (1) This Additional Coverage app(ies onty                               (5)  The    most   we wM pay under fhis
                                                                                                   increased    Cost Of Construction—
                         to buiidings irtsured on a replacerrrent
                                                                                                   Damaged Property Adchtional
                         cost basis.
                                                                                                   Coverage, for each described
                     (2) in the event of dama9e bY a Covered                                       buifding insured under this Coverage
                         Cause of Loss to a buid►ng that is                                        Form, is $25,000.
                         Covered Property, we wi9 pay the
                          increased costs incun-ed to compfy                                       The   iimit for this increased Cost Of
                                                                                                   Construcbon — Damaged Property
                         with enforcement ot an ordinance or                                       ,qddifionai Caverage is in additian to
                          iaw in the course of repair, rebuilding
                          or reptacement of damaged parts of                                       the Limits of insurance.
                          that property, sub}ectto the                                      {7}    Wrth respect to this Increased Cost
                          fimitafions stated in paragraphs (3)                                     Of Const=uction — Damaged Property
                          through (9) of this incxeased Cost Of                                    Adchkonal Coverage:
                          Construction — Damaged Property                                          (a) We wifE not pay any costs;
                          Addifnonal Coverage.                                                          (i} t}nfA the property is actuaby
Alk                  (3) The ordinance or kaw referred to in                                                  nepaired or repiaced, at the
                          paragraph (2) of this tncreased Cost                                                same described premises or
                          Of Construction — Damaged Property                                                  anoffier premises; and
                          Addfional Coverage is an ordinance                                            (n) Unless the repairs or
                          or iaw that regulates the oonstruction                                              n3placement are made as
                          or repair of buiidings or estabGshes                                                soon as reasonably possibte
                          zoning or tand use requirements at                                                  after the foss or damage, not
                          the described prernrses, and is in                                                  to exceed two years. We may
                          force at the time of toss.                                                          extend this period in wrifing
                     (4) Under this incraased Cost Of                                                         during the two years.
                          Construction — Damaged Property                                          (b) If the buiiding is repaired or
                          Addifional Coverage, we wili not pay                                           replaeed at fhe same described
                          any costs due to an ordinance or taw                                           premises, or r' f you elect to rebudd
                          that                                                                           at another premises, the most we
                          (a) You were required to comply with                                           wi6 pay for the increased Cost of
                               before the ioss, even when the                                            Corsstruction is the increased
                               building was undamaged; and                                               oost of construction at the same
                          (b) You faiied to compty with.                                                 described premises.
                     (5) Under this Increased Cost Of                                               (c) If the ordmance or iaw requires
                          Constrvcfion — Damaged Property                                                relocation to another premises,
                          Addtional Coverage, we wiN not pay for:                                       1he most we wifl pay for the
                          (a) The enforcement of any                                                     Increased Cost of Construction is
                               ordinance or law which requires                                           1he inc►eased cost of constructlon
                               demoiition, repair, replacement,                                          at the new premises for a buiidng
                               reconstruction, reniodefing or                                            of fike, kind and quality and of the
®                              remedration of property due th                                            same    size and use.
                               oontamination by 'pollutants" or
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                 (6) This lncreased Cost Of Construction—                                             goods"by refrigerant, incWding but
                      Damaged Property Addifional Coverage                                            not limited to ammonia, which is
                     is not subjsct to the terms of the                                               addressed in (3)(cxn) be[ow.
                     Ordinance or Law Exdus'ron, to ihe                                               Adcrrtional costs mean those
                     extent that such exciusian would confirct                                        beyond what would have been
                     whh the pravisions of this increased                                             reguin3d had no "f'sazarcfous
                     Cost Of Construcfion — Qamaged                                                   subs#ance' been invoivecl.
                     Property Additionai Coverage.
                                                                                                      The mostwe will pay tor loss,
              n. Equipenent Brea9cdctan                                                               damage or expense under this
                 (1) We wil pay for direct physical loss of                                           coverage, induding actual loss of
                     or damage th Covered Property                                                    "business income' you sustain
                      caused by or resutting trom an                                                  and necessary `extra expense'
                       'accident' to 'covered equiFxnent'.                                           you incur Is $50,000.
                        If an initial 'accident' causes other                                    (c) Perishable Go®ds
                       "accidents", all will be considered one                                       (i) We wil PaY"tar PhYsic~l
                       'accidenC. All "acxidents' ihai are the                                           ~e9e ro PeRshal~s
                       result of the same event will be                                                  goods' due to spoilage.
                       corsskdered one "accidenf .
                                                                                                     f~~} _ We wtfl akso pay for physical
                  ( 2) If a dollar deductthie 'ts shown in tfie                                          damage to 'perishabie goods'
                       declarations for this Equipment                                                   due th contamination fram the
                        Breaicdown Adcffiiona! Coverage, we                                              release of reftigerrant, including
                       wiil first subtractthe applicabfe                                                 but not fimited to ammonia.
                      deductibie amounttrom any loss we
                                                                                                       (~) We wi11 afso pay necessary
                      would otherwise pay. flVe wfil then
                                                                                                           ex;renses you incur to reduce
                      pay the amount of ioss in exoess of
                      the appficabte deductibfe up to the                                                  the amount of lflss under thEs
                      appficable Gmit for this coverage.                                                   coverage. We wifi pay for
                                                                                                           such expenses to the extent
                      ff na dolizar deductib}e is shown for                                                that they do not excesd the
                      EQ~ui      nt Breakdown Additthnal                                                   artwunt of ioss that othen+vise            Ah
                      Coverage, tiie Property Deduch'ble                                                   wouid have been payabie
                                                                                                                                                      AV
                      shown in the Declarations appfies.                                                   under this coverage.
                  (3) The folbwing coverages also appty to                                             (iv} If you are unable to replace the
                      loss caused by or resuf6ng from an                                                   "perishable goods" before its
                      'accident' to 'covered eqvipment'.                                                   anficipated sale, the amount of
                      These ooverages do not prpvide                                                        our payment wiri be detenmined
                      addffional amounts of insurance.                                                      on It►e basis of the saies price of
                      (a) ExpesHing Expenses                                                                the "perishabie goods' at the
                           With respect to your damaged                                                     fime of ihe 'aocident', iess
                           Covered Property, we wiu pay, up                                                 d~scounts and expenses you
                           tD$50,000, ttie reasonable exb-a                                                 othsnHise wouid have had.
                           COSt to:                                                                          Otherwise our paymentwiU be
                           (i) Make temporary repairs; and                                                   determined in accordance wilh
                                                                                                             Condition 5. Loss Payment
                           (i) Expedite permanent repairs                                                    under Secfion E. PROPERTY
                               or raptacement.                                                               LOSS CONDITiOAE,S.
                      (b) Hazardous Substances                                                        71The nnost we wfil pay for ioss,
                          We wfil pay tor the additional oost                                         damage or expenses under this
                          to repair or reptace Covered                                                coverage is $50,000.
                           Property because of                                                    (d) ~n~e Inq~pf~n
                           contamination by a'hazardous
                           substance'. This indudes the                                                (~ ~ thsurance provided under
                           additional expenses to dean up                                                    the Business income
                           or dispose ot such property.                                                      ~ Coverage, the Extra
                                                                                                             Expense Additiona! Coven~ge
                           This does not inctude                                                             and for (c) Perishabte Goods in          ~
                           contanrination of 'perishabie                                                     this Eqtioment f3reakdown
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                                                                                                                                PB AU 02 04 11
                                   Additional Coverage, is                                               environment, more efficient or sater
                                   extended to appiy to yaur ioss,                                       than tha equipment being reptaced.
AML                                damage or expense caused #yy                                          HOWEVER, we wiD not pay more
                                   the interrup6on of utiitty                                            under this additional coverage
                                   servioes. T'he interruption rrwst                                     fhan 125% of what the cost wouki
                                   result from an "aacident" to                                          have been to repair or replace with
                                   equipment, inciuding overhead                                         Gke kind and t~taiity.
                                   traresmission iines, that is
                                   owned by a utiGty, landford, a                                        'fhis provtsion does not increase
                                   tand[ord's utitity or o#her
                                                                                                         any of the appGcable fimits.
                                   supplierwito provides you with                                (4) Adciilioeia4 Exclusions
                                   any of the foliowing serv"tces:                                   (a) We wgl not pay under this
                                   eiectricai power, waste                                                  Equipment Breakdown Additional
                                   disposai, air conditioning,                                              Coverage tor bss, damage or
                                   refrigeraiion, heafing, natural                                          expense caused by or resulting
                                   gas, compressed air, water or                                           irom:
                                   stsam, intemet access,                                                   (i) Any defect, programming error,
                                   tefecOmmuntCations servtGes,                                                  progrannning i7nita6an,
                                   wide area networks or data                                                    'computer" vinss, maiicious
                                   transmission, The equipmant                                                   code, loss of data, loss of
                                   must rneet the de8nition of                                                   access, foss of use, ioss of
                                   "covered equipment" except                                                    functionatity or other oonchon
                                   that it is not Govered Property.                                              within "electronic data'. But if
                               (e) Senrice Interrup6on coverage                                                  an 'accident' results, we wM
                                   wil not apply uniess the faiiure                                              pay for the resulting loss,
                                    or disruption of service exceeds                                             damage or expense; or
                                    24 hours 'rrnrnediately foliow'mg                                       (ii) Any of the foliowing tests:
                                    the 'accident'.
                                                                                                                 i.    A hydrostatic, pneumaiic
                               (ui) 'fhe mostwe wif pay for foss,                                                      or gas pressure test of
AMk
                                   damage or expense under this                                                    any boiler or pressure
                                   coverage is the iimit that appiies                                              vessel; or
                                   to Business income, Extra
                                   Expense or Perishabie Goods.                                                ii. An electricai insulaSon
                                                                                                                   breakdown test of any type
                           (e) Electronie Data Restorafion                                                         of efectrical equipment.
                               We wdl pay for your reasonabie                                          (b) With respect to (d) 9ervice
                               and necessary cost to research,                                             interruption coverage, we will not
                               repiace and restore iost                                                     pay for an "accicient" caused by or
                               electronic data.                                                             resulting trom: 8re; fightning;
                               The most we wili pay for koss or                                             windstorm or hail; explosion
                               expense under this coverage,                                                 (except for steam o► centrifugal
                               includ'ing actuat loss of 'busiiess                                          expFosion); smoke; aircr•aft or
                               income' you sustain and                                                      vehicles; riot or civil conunotion;
                               necessary "extra expense" you                                                vandalism; spcinkier ieakage;
                               incur, is $50,000.                                                           fal6ng objects; weight of snow, ice
                           (t) Environroreotitat, Safety and                                                or sleet; treeZing; coliapse; fiood;
                               Effeaiency bm►provernents                                                   or earth movement.
                               The toAowing provision does not                                         (c) Exciusion B.1.h. Fungi, Wet Rot Or
                               appfy to property insured on an                                              Dry Rot does not apply to spoikage
                               "actual cash vaiue" basis.                                                   of personal property that is
                                                                                                            'perishabie goods; to tt►e extent
                               If "covered e  ent' re ires
                                            ~~       ~                                                      that spoilage is covered under (c)
                               replacement due to ioss or damage
                               caused by or resulting from an                                              Perishabfe Goods covarage,
                               'accident", we will pay your                                            (d) We wM not pay under this
                               addifional oost to rep{ace with                                             Equipment Br+eakdown Additional
®                              equipment that is better for the                                            Coverage for any ioss or damage
                                                                                                            to animals.
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   PB 00 02 04 11
               (6) /Wdttional CaM6ons                                              p. ttAoney 04nd Securities
                   (a) 3uspensioo                                                       (1) We wgl pay for foss of 'money' and
                        1Nhenever'covered equipment" is                                      "securfiies' used in your business wrhile
                        found to be in, or exposed to a                                      at a bank or savmgs pnsfitudon, within
                        dangerous condifion, any of our                                      your inring quarters or ft fivaig quarters
                        representatives may immedatefy                                       of your partners or any empfoyee having
                        suspend the insurance against 4oss                                   use and custody of the property, at the
                        from an 'accident" to that 'covered                                  describad premises, or in transit by
                        equiprnent". This can be done by                                     direct route between any of these
                        mailing or deGvering a wrftten nofice                                 places, resuffing diractly from:
                        of suspension b: your address as                                     (a) Theft, meaning any act of steafing;
                        showm in the Deotarations, or at the                                 (b) Disappearance; or
                        address where the equipment is
                        iocated. Once suspended in this                                       (c) Destiucfion.
                        way, your insurance can be                                      (2) in addibon to the Limitations and
                        reinstated only by written notfce of                                 Exdus'sons appiicable to property
                        reinstatement from us.                                               coverage, we wig not pay for loss:
                    (b) .6anisd'ictionat tnspeafions                                          (a) Resulting from acx;ounfing or
                                                                                                  arithmetical errors or omissions;
                        ff 'covered equipment' under this
                        Equipment Breakdown Additionai                                        (b) Due to the giving or surrendering
                        Coverage requires inspecfion to                                            of property in any exchange or
                        compiy with state or municipal boiler                                     purc:hase;
                        and pressure vessei n3guiations, we                                   (c) af property contained in any
                        agree to perform such inspecfron on                                       `money'-operated device uniess tfie
                        your behalf. W~e do not warrant that                                      amount of 'money' deposited in it is
                       conditions are safe or heatthtui.                                          aec;orded by a con6nuous record'ing
               (6) The rnostwe wa pay tor ioss,                                                   instrument in the devlce; or
                    damage or expense under this                                              (d) From an unattended motorvehicie.
                    Ec}uipment 8reakdown Addiinonal                                           (e) That is covered under the
                    Coverage arising from any one                                                  Unauthortzed Business Card Use
                    "aoc'tdent" is the appficabfe Limit of                                         or Computer Fraud And Funds
                    insurance shown in the Deciarafions.                                           Transfer Fraud Additional
                    This Equipment Breakdown Additional                                            Goven3ges.
                    Coverage wi4 not incrsase ttre Limits of                             (3) The most we wilf pay under this Money
                    Insurance pravided by th'ts poficy.                                       and Securifies Additional Coverage for
               Arson Reward for Conviclion                                                    loss in any one occurrence is:
               (1) tn the event that a covered fire loss was                                  (a) tnsade f3te Pretnises, $10,000 for
                    the result of an aat of arson, we will pay                                    'nsoney' and 'securiiias' uvhiie:
                    a reward to anyone, other than pafd                                           (i) In or on ihe descrbed
                    investigators, who gives legal authorities                                         premises; or
                    infonnation that ieads to 1he conviction
                   of anyone who conxnitted such arson.                                            (a~ VWthin a bank or savings
                                                                                                        insfitut►on;
               (2) We wip pay up to 10 percent of the
                   amount of the insured fire ioss or                                              uniess a higher Limit of insuranoe
                    $10,000, whichever is Vess. This                                               for 'maney' and 'securiffes" insitle
                    payment is the nrost we will pay in                                             lhe premfses is shown in the
                   any one occun-enoe, regardiess of                                                Dedaratlons; and
                   the number of persons providing                                            (b) Ouftide ffie Prenoises (Lirnited —
                   information or convictedof arson.                                              loss ffam an unattended motor
               (3) T'he fimit for this Arson Reward for                                           vehicfe is exaiuded), $10,000 for
                   Convict'son AddiBonal Coverage is in                                           'money' and 'securifies' whfle
                   addttion Uo the Limits of insurance.                                           anywhere efse, unless a higher
                                                                                                  Limit of tnsurance for "money' and
               (4) Nb deductible appGes to this Arson                                             'securities' outside the preniises is     ®
                    Reward for Convicfion Additional                                              shown in the Deciarations.
                    Coverage.
    Pa" 12 Of 39             iruiudes copyrigFned material of fnsuranoa Services Olrice. Inc.. with its permission.   PB QO 02 04 11
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~                                                                                                                                    PB 00 02 0411
!                            (4) Atl loss:                                                            (2) We wiU pay for foss of or damage to
                                 (a) Caused by one or more persons; or                                    Covered Propsrty caused by water fhat
                                                                                                          backs up or overfkr+vs trom a sewer or
                                 (b) invotving a single act or series of                                  drain, sump purrtp wef< or simiiar device
                                      related acts;                                                         designed M prevent overflow, seepage
                                is considensd one occun~rrce.                                               or isaScage of subsurface waker.
                            (5) You must keep records of ail 'money'                                       HOWEVER, we wrHi not pay for loss or
                                and "securi6es" so we can verify the                                       damage that results hom sewer back-
                                amount of any loss or damage,                                              up or sunip pump overBow that occurs
                            (6) The Iimit for this fVloney and                                             during the period beginning 10 days
                                Securfties Additional Coverage is in                                       betore and endng 10 days after a
                                addition to the Limits of insurance.                                       "ffood" on the described premises.
                        cf. Appurtenant Structures                                                     (3) The most we wiH pay for ioss or
    ~                       (1) We wdi pay for direct phyer-al ioss of or                                  danage under this coverage is:
                                damage to any separate garages,                                            (a) $5,000 per buhciing; or
                                starage budd'ings, swimmung Poois,                                         (b) $25,00D in ar'ty one pofr-y period,
    ~                           spas, fences, retaining walls and other                                        regardfess of the number of iosses;
                                appurtenant stnictures usual to your                                       unless a htgher Limit of insurance for
    ~                           business at fhe described premises in                                       ga~ t}p pf Seyyer C~r Drain Wa~r
                                fhe Dedarations caused by or resuifing                                      Damage is shown in the Declarafions.
                                 from any Covered Cause of Loss.
                                                                                                       (4) The fimit of insurance that appNes to
                             (2) The most we wiil pay for lt?ss or damage                                  coverage under this Back E}p Of Sewer
                                  under this Appurtenant Stnactures                                        Or Drain Water Damage Additional
                                 Additional Coverage in any one
                                                                                                            Coverage indudes any foss arising trom
                                 occurrence ls 1M0 of the Bwld'ing Limit                                    debris removai expense, Business
                                 of insurance shown in the tleciarations                                    Income Additional Coverage and Extra
                                 for that diescribed bubding.
                                                                                                           Expense Additional Coverage.
                                 HOWEVER, if the vaiue of any one
                                 garage, storage bulding, swimming                                     (5) The fimit for th'is Back Up Of Sewer
                                                                                                           Or Drain Water Damage Addit►onal
                                 pool, spa, fence, retaining waif or                                       Coverage is in addition to the Limits
                                 other appurtenant structure exceeds                                       of insuranoe.
                                 $50,000, this Appurtenant Structures
                                 Addilimal Coverage does not appiy                                     (6) The Debris Removal Addi6onai
                                 to ttiat structurre.                                                      Coverage does not apply to th'ts Back
                                                                                                             Dp Of Sewer Or Drain Water
                             (3) The iimit for this Appurtenant                                             Damage Additionai Coverage.
                                 5tructuras Additional Caverage is in
                                 addition to the Limits of Insurance.                             s. Dependent Properbes — Business
                                                                                                       fnCOMe
                        r.   Back lip Of Sewer Or Drain Water
                             D$maga                                                                    (1) We wffk pay for the actual ioss of
                             (1) For fhe purpose of this Back Up Of                                        "business income" you sustain due to
                                                                                                           the necessary and unavoidable
                                 Sewer Or Drain Vlrater Damage
                                 Adciitional Coverage the fofiowing                                        suspension of your "operations'
                                 defmitlon is added;                                                       during the "period of restoration'. The
                                                                                                             suspension must be caused by direct
                                 'Fbod' means a general and                                                  physicaf loss of or damage to
                                 temporary condition of partial or                                           'dependent property" caused by or
                                 compiete inundation of nomzally dry                                         resulfing from any Coven3d Cause of
                                 iand areas from:                                                            Loss.
                                 (a) The unusual and rapid                                             (2) We will only pay for loss of 'business
                                     accumulation or runoff of surface                                     incorne` that occurs within 12
                                     waters from any source;                                               consecuftve months after the date of
                                 (b) The overfiow of iniand or 6dal                                        direct physical ioss or damage.
                                     waters; or                                                        (3) This Dependent Properties — Business
                                 (c) Waves, ti~des or 6dal waves.                                          income Addlfional Coverage is not
        ®                                                                                                    subject to the Limits of Insurance.

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   PB eMt 42 0411
            t   Limlted Cmveragc for Fungi, Wet Rct                                               by "fung1", wat rot or dry rot, and other
                Or Dry Rmt                                                                        ioss or damage, we wifl not pay more,
                (1) Ths coverage descrthed in                                                     for the totaf of an bss or damage,
                     paragraphsv.(2) and v.(6) oniy                                               than the appiicabie limit of tnsurance
                     apphes when the "fungi', wet rot or dry                                      on the affected Govered Property.
                     rot are the resuft of a"specified cause                                      If there is covered ioss or damage to
                     of toss" other fhan fire or iightning that                                   Covered Property, not caused by
                     occurs during the poiicy period and                                          "fungi*, wet rot or dry rot, ioss
                    oniy if al reasonabie means were                                             payment wip not be {unfted by the
                    used to save and preserve lhe                                                tetms of this Lsnited Coverage,
                    property from furtfier damage at the                                         excapt to the extent that "fungi', wet
                    fhne of and after that occun•ence,                                           rot or dry rot causes an increase in
                (2) We wfif pay tor loss or damage by                                            the ioss. Any such increase in the
                    "fungl', wet rot or dry rot. As used in                                      loss will be subject to the terms of this
                    this Limited Coverage. the term loss                                         linited coverage.
                    or damage means:                                                         (5) The temis of this Lkmited Coverage
                    (a) Direct physicaf ioss or da►nage to                                       do not increase or neduce the
                         Covered Property caused by                                              coverage provided under the Water
                         "fungi", wet rot or dry rot,                                            Damage, Other Liquids, Powder Or
                         inctuding the cost of removai of                                        Niotten Material Damage or Coifapse
                         the "fungi', wet rot or dry rot;                                          Addifianal Coverages.
                     (b) The cost to tear out and reptace                                    (6) The folfowing appfies only If Business
                         any part of the building or other                                       Income andtor Extra Expense
                         property as needed to gain                                                Coverage appifes to the described
                         aocess to the "tungt", wet rot or                                         prenrises and only if the suspension
                         dry rot; and                                                              of 'operations" safisftes all the terms
                                                                                                   and condttions of ttte appiicabie
                     (c) lhe cost of testing perbrmed
                                                                                                   Business fncoma andbr Extra
                          asfter removaf, repair,
                                                                                                   Expense Additionai Coverage.                    Ah
                          repiacement or restoraivan of the
                          damaged property is compieted,                                           (a) If the toss which resutted in
                         provided there is a rea.san tc)                                                "tungi , wet rot or dry rot does not
                          betieve that "funga , wet rot or dry                                          in itseff necessttate a suspension
                          rot are present                                                               of `operaGons", but such
                                                                                                        suspension is necessary due to
                (3) The cvvecage ciescribed under fhis
                                                                                                        loss or dama~e to property
                     Limited Coverage is fimited to
                                                                                                       caused by 'tungi', wet rot or dry
                     $15,000. Regardless of ttte number
                                                                                                        rot, then our paymant under the
                     of ctairns, this fimit is the most we wi>I                                         Business lncome and/or Extra
                     pay for the total of aD ioss or damage
                                                                                                        Expense is fitntted to the amount
                     arising out of all occurrences of                                                  of bss and/or expense sustained
                     "speci6ed causes of loss" (other than
                                                                                                        in a period of not more than 30
                     fire or fightning) which take piaoe in a
                                                                                                        days. The days need not be
                     12-mon1h period (starfing with the                                                consecuGve.
                     beginning of the presentannual
                     poficy period). With respect to a                                             (b) If a covened suspension of
                     parficular occurrence of loss which                                                "operations" was caused by bss
                     results in "fungt", wet roi or dry rot, we                                         or damage other than "fungl', wet
                     wip not pay more than the total of                                                  rot or dry rot, but remedia5on ot
                     $15,000 even ff the 'fungi', wet rof or                                             "fungf' wet not or dry rot proiongs
                     dry rot confinues to be present or                                                  the "period af nesborabon', we w81
                     activa, or necurs, in a later policy                                                pay for loss andfor expense
                     period,                                                                             sustained durmg the deiay
                                                                                                         (regardiess of when such a deiay
                (4) The ocoverage provided underthis
                                                                                                         occurs during the 'period of
                     Umited Coverage does not increase                                                   restoration"), but such cover3ge
                     the appfa:abb Limtt of Insurance on
                                                                                                         is limited to 30 days. The days           ~
                     any Covered Property. If a partiaufar
                     occurrence n3suRs in koss or damage                                                 need not be consecutive.
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                                                                                                                            PB 00 02 04 11
                  u. Buikfing Property of Others                                            (2) The most we wriU pay under this
                     (1) If you occupy a described premises                                      Computer Fraud And }=unds Transfer
AML                       as a tenant, and a wrftten iease or                                    Fraud Addifionat Coverage tar ioss in
                          rental agreement for that premises                                     any one oc:currence is $10,000.
                          rec#uires you to pay for ioss of or                                (3) Al ioss:
                          damage to a part of buiiding property                                  (a) Caused by one or more persons;
                          you do not own, we wiU pay for direct                                         or
                          physicai foss of or darnage to that
                                                                                                 (b) invoiving a singie act or series of
                          part of buiiding property, other than
                                                                                                        related acts;
                          ex<erior gEass, caused by a Covered
                          Cause of Loss.                                                          is considered one occurfence.
                     (2) The mostwe wfU pay for any loss or                                  (4) The i'unit for this Unauthorized
                          damage under this Buiiding Property                                     Business Card Use Additional
                          of Others Additional Coverage is                                       Coverage is in addition to the Eimits
                          $10,000, uniess a highar knit is                                        of insurance.
                          shown 'ai the Declarations.                               fi. Cp1tERAGE EXTENSit31+3S
                     (3) The fimit for this Buiiding Property of                        Except as otherwise provided, the fofiawing
                          Others ,4diitionai Coverage is in                             Extensioscs appiy to property located in or on
                          add"ition to the Limits of Insurance,                         the descrbed bui{ding in the Dectarations or
                  v. Unau4lhorized IBuainess Carcf [!se                                 in the open (or in a vehicie) wifhin 1,000 feet
                                                                                        of the descnbed premises.
                     (1) We wNl pay for the iegal obfigation
                          you have becauses of the theft or                             In addifion to the Limits of insurance, you
                          unauthorized use of your business                             may extsnd the insurance provided by this
                          credit, d4bit or charge cards issued to                       poficy as fobows.
                          you or registered in your name or the                         a. Newf)r Acquir®d or Cnnstructed
                          name of your bus'tness.                                             Proper4y
                     (2) The most we wiU pay under this                                      (1) Beeikiings
                          Unauthorized Business Card lfse                                          If this poficy covers Buiidings, you
                          Additional Coverage tor toss in any                                     may extend that insurance to appty
                          one occurFence is $10,000.                                              to:
                     (3) A11 foss:                                                                (a) Your new buDdings while being
                          (a) Caused by one or more persons; or                                         buiit on the descr'bed premises;
                          (b) invoiving a singie act or series of                                       and
                               reiated acts;                                                      (b) Bufidings you acquire at preinises
                          is consrdered one occurrence.                                                 other than the one described,
                      (4) The fimit for thfs Unauthorized Business                                      inthnded for:
                          Card l}se Additional Coverage is in                                           (P) S'imflar use as the described
                          addition to the Limits of Insurance.                                               butlding in the Decfarations;
                  w. Computer Fraud And Funds Ttansfar                                                       or
                      Fraury                                                                            (ii) Use as a warehouse.
                      (1) We wiU pay for.                                                          The most we wdl pay for ioss or
                           (a) Loss resuttmg from 'frauduient                                      darnage under this Buiidings
                               instrucfion' direcfing a financial                                  Coverage Extansion is $1,000,000 at
                               institution to transfer, pay ar                                     each buiidthg.
                               defrver "money" or 'securities'                                (2) Business Personal Property
                               from your "transter acaount'; or                                    It this poiicy covers Business
                           (b) Loss directfy retated to the use of                                 PensDnai Property, you may extend
                               any computer to traudutently                                        that insurance to appiy to:
                               cause a transfer of covened                                         (a) Business Personal Property,
                                property from inside the                                                 incfudmg such property that you
                               descxfbed premises to a person                                            newiy acc}uira, other than at fairs
                               (other than a messenger) or                                               or exhibitions, at any prernises
                                piace outside those premises.                                            you aoquiTe;

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   PB Oo 02 04 11
                    (b) Business Personat Property,                                        (b) i 80 days att3er you aoquire the
                        incWding such property that you                                        prrrperty; or
                        newiy acquire, iocated at your nevriy                              (c) You report values to us.
                        constructed or acquired buikiings at
                                                                                      We yuill charge you any additionaf premium
                        the described premises; or
                                                                                      from the date you aoquira the Property-
                    (c) Business Personat Property that                            c. Personat Property 01111vernises
                        you newfy acquire, locatad at the
                        tlescnbed premises.                                           You may extend the insurance providad
                    Tihis Extension does not appiy to                                 by this poiicy to appfy to your Covered
                    personai property that yau tempora►ffy                            P roperty, other than money' and
                    ac:quire in the caurse of instaliing or                           "secucities", "vaivab}e papers and
                    perfarmtt~g work on such properiy w                               res~rds" or accounts rersivabie, whfle it
                    youra►hoiesafe activities.                                        is in the course of t~ransit or at a prernises
                                                                                      yau do not ouvn, iease or operate.
                    The most we w€A pay tor toss or
                    damage underthis Business Personal                                'fhe most we uvM pay for ioss or damage
                                                                                        under ~is Parsanai Pn3perty Off-
                    Property Gov®rage Extension is
                    $500,OOOat sach buiMd'ing.                                        prepnises Coverage Extension is $15,000.
                (3) P®ricd Ot Coverage                                             d. 06std~r Teees, Shsutaa, Ptanls, aeed
                                                                                        Lawns
                    Wth respect to insur-ance on or at
                    each neu~iy acquired or conslructed                                 (1) You may axtend the ~surance
                    property, covarage wal end wfien any                                    praviried by this pofs:Y ~ aPPIY m
                    of ihe to~awing first occurs:                                           your aubdoar trees, shrubs, piants
                                                                                            and tauvns (other tttan "stac4c`),
                    (a) This poiicy expires;                                                inciucfing debris removal expense,
                    (b) 180 days after you acquire the                                      caused by or resuffing firorn any of the
                         pn>perty or bec,p'n constnucfion of                                toqowing Causes of Loss:
                         that part of the bukfing that uvouid                               F'ire; Lightning; Expiosion; ARcra9t or
                         quaiity as covered property; or                                    vehicies; Riot or civfl oommotion;
                    (c) You report vafues to us.                                              Vandalism; or TheR
                    We wiR ctrarge you add'itional prevnium                              (2) The mostwe wfll pay for ioss or
                    tor vaiues reported from the date you                                    damage under this Outdoor Trees,
                    acquire the property or begin                                            Shnabs, Piants, and Lawns Coverage
                    construction of that part ot the buiidtng                                Extension is $10,01D0 in any one
                    that wouid quartty as oovered property.                                  occurrence, uniess a higher timit for
                [d®roviy Acqusred Prop®r!y - Baasiness                                       outdoortree:s, shrubs, plants, and
                Incom®                                                                       tawns is shown in the Deciara6ons,
                                                                                             but not more than $2,500 for any one
                (1) You may extend the insurance that
                    applies to Business income Additional                                    tree, shrub or p{ant
                    Goverages to appiy Uo property at any                                (3) The Debr}s Removat Additional
                    premises you newrty acquire, other                                       Coverage does not appiy to this
                    than temporary premises such as tairs                                    Outdoor Trees, Shrubs, Pfants, and
                    or exhibitions, whether attended                                          Lauvns Coverage Extens'wn.
                    reguiariy or noi.                                               e. Ou9dloor Signa
                (2) The most vve will pay for ioss under                                 (1) You may exEand the insurance
                    this IJewiy Acquired Property -                                          provided by this po6cy to appty to
                     Business income Covensge                                                your ouEdoor signs, inciuding debris
                     Extension is the lesser ot:                                             removal expense.
                    (a) The actual ioss of'business                                      (2) The mostwe wql pay tor ioss or
                        income' you sustain, as provided for                                  damage underthis Outd1oor Signs
                        and dascribed under the Business                                      Coverage Extens'ion is $2,500 in any
                        income Additiorral Coverage; or                                       one occurranoe, uniess a higher iimit
                    (b) $100,000.                                                             for ouUdoor signs is shown in the
                                                                                              Dociarabons.
                (3) This insurance wiU end the earfier ot:
                     (a) This poficy expires;                                                                                           ®

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                                                                                                                               PB 00 02 04 11
                         (3) The Debris Removal Addi4onal                                             the extent that the contents of the
                             Coverage does not apply to this                                          'vaivable papers and reco►ds" are not
                             Outdoor Signs Coverage Extension.                                        restored, the 'vafuable papers and
                    f.   Persouai ElEfects                                                           records' wiD be vaiued at the cost of
                                                                                                     repiacementwith biank materiais of
                         You may extend the insurance that appries                                   substantiaby identicai type.
                         to Business Personai Property to appiy to
                         personai efhacts owned by you, your                                     (b) Secton B. EXCLIlSIONS of this
~                        officers, your partners or 'members", your                                   Coven3ge Form does not appiy to this
                         "managers" ar your empioyess.                                                Vaivabie Papers And Records
                                                                                                      Covera~ge Extension except for.
                         HOVJEVER, personal effects does not
                         include:                                                                     (a) Paragraph B.1.c., Govemmentai
                                                                                                            Action;
                         ( t) Toots or equipniant used in your
                              business; or                                                            (b) Parragraph B.1.d., Nuclear Iriazard;
                         (2) "Money", 'securities" or jewelry.                                        (c) Paragraph B.11, lftilar And
                                                                                                            Mifitary Action'
                         The most we will pay for ioss or damage
                         under this Personal Effects Coverage                                          (d) Paragraph B.21, Dishonesty;
                         Extension is $10,000 in any one                                               (e) Paragraph B.2.g., Fa1se Pretense;
                         occurrence, but not more than $2,500 for                                      i)                      {2), Errors Or
                         the personal effects of any one individual.                                   (    pmi ns;
                                                                                                                s io and
                    g. Yaivabfe Papeirs Artd Records                                               (g) Paragraph B.3.
                       (1) You may extend the insurance provided                            h, AccoaePtts Receivabie
                           by this poticy to appfy to direct physical
                                                                                               (1 } You may ex~nd the insurance
                           ioss or damage to "vatuabie papers and
                                                                                                   provided by this poi•icy to appiy b
                           records' that you own, or that are in
                           your care, custody or control, caused by                                your records of accaunts rsoeivable.
                                                                                                       We r"iEl pay'
                             or resuiting trom a Covered Gause of
                             Loss. This Vaivable Papers And                                            {a) Ali amounts due from your
                             Recanfs Coverage Extension inctudes                                           customers that you are unabie to
                             the cost to research, repiace or restore                                       couect
                             the fost infomnation on 'vafuable.papers                                  (b) interest charges on any loan
                             and records' for which dupiicates do not                                       ret}uired to offset amounts you
                             exist.                                                                         are unabie to cofiect pending our
                         (2) This Vatuable Papers And Records                                               payment ot these amounts;
                             Coverage Extension does not appiy to:                                     (c) Coileciion expenses in excess of
                             (a) Property heid as sampies or for                                            your normad cotiection expenses
                                 derivery after saie;                                                       tftat are made necessary by ioss
                             (b) Property in storage away trom                                             or damage; and
                                 the descrtbed premises.                                               (d) Other reasonabie expenses that
                         (3) The most we win pay under this                                                you incur to re-estabiish your
                                                                                                            records of accounts receivabie;
                             Vaivable Papers And Records
                             Coverage Extension for ioss of or                                         that resutt trom direct physicai loss or
                             damage to 'vaivabie papers and                                            damage by any Covered Cause of
                             records', in any one occur-ence at                                        Loss to your records of accaunts
                             the desctibed buiidrng is $25,000,                                        recen'abf8-
                             uniess a higher Limit of Insurance for                               (2) The most we wifl pay under this
                             'vaivable papers and records" is                                          Accounts Receivabie Coverage
                             shown in the Deciarations.                                                Extension for ioss or damage in any one
                             For 'vaivabie papers and records'                                         occur►ence at the described buiidmg is
                             not at the described prgmises, the                                        $25,000, uniess a higher Limtt of
                             most we vnll pay is $25,Oo0.                                              Insurance for accounts receivabie is
                         (4) Loss or damage to 'valuabfe papers                                        shown in the Decfarations.
                             and racords' wiU be vaiued at the                                         For reconis of accounts receivable
    ~                        cost of restoration or repiacement of                                     not at the desaibed premises, the
                             the lost or damaged information. To                                       most we wM pay is $25,000.
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                  (3) Section B. EXCl.1lSKtNS of this                              ic.   Reeetcval Pemif
                       Covarage Form does not appiy to this
                                                                                         If Covered Personat Property is removed
                       Accounts Receivabie Coverage
                                                                                         to a new premise that is siescxibed in the
                       Extension except for:
                                                                                         Dedara6ons, you may extend this
                       (a) Paragraph B.1.c., Govemmenta!                                 insurance to inctude lhat Covered
                            Action;                                                      Persflnaf Property at each premise during
                       (b) Paragraph B.1.d., Nuclear Hazard;                             the removai. Coverage at each premises
                       (c) Paragraph B.1.€., War And                                     vrll appfy in the proporfion that4he vaiue at
                            tu4iktary action;                                            eadn premises bears to the vaiue of al
                                                                                         Covered Persona! Property bek►g
                       (d) Paragraph B.21, Dishonesty;
                                                                                         removed. 'Fhis permit appiies up to 30
                       (e) Paragrapt► B.2.g., Fa4se Pretense;                            days after the date Covered Personal
                       (f) Paragraph B.3.; and                                           Property is fnrst removed at the previous
                       (g) Paragraph B.6., Accounts                                      premises; atter that, this Removal Permit
                            Receivable Exchuion.                                         Coverage Extension does not apply at the
                                                                                         previaus premises.
             f.   Saleapersons Sautiepies
                                                                                         Eleafronic Data
                  (1) You may extend the insurance that
                       appiies to Business Personal                                      (1) You may extand the insurance
                       Property to apply to safespersons                                       provided by Ihis poftcy to appiy to the
                       samples while away from the                                             oost ta replace or restore "eiectronic
                        descrbed premises.                                                     data" which has bean destroyed or
                                                                                               corrupted by a Covered Cause of
                  (2) The most we wig pay urider this
                                                                                               Loss, a "computer" virus, harmful
                        Salespersons Sampies Coverage
                                                                                               code or simiiar instauction introduced
                       Extension for ioss or damage in any
                                                                                               into or enacted on a"computer"
                        one occurrence is $10,000.
                                                                                               system (inciuding `etectronic data") or
            }.     Buseness itecoseoe and ExEra Erpense —                                      a network to which it is oonnected,
                  inc►easea8 Pereod of Festombon Due to                                        designed to ctamage or destroy any
                  Ora9ir>aoecce or Law
                  It a Covered Cause of Loss occurs to
                                                                                               part of the system or disn.tfst its
                                                                                               nomza{ operation. But there is no
                                                                                                                                          go
                                                                                                                                          mr
                  property at the described premises,                                          coverage for loss or damage caused
                   coverage is extended to incfude ffie                                        by or resulting fram rnanipufation of a
                   anmunt of actual and neoessary loss you                                     "computer" system (inckudfr+g
                   sustatn during the `period of restoration"                                   `electronic datal by any employee,
                   of "operations" caused by or resulting                                      inctuding a temporary or teased
                   from the enforcementof any ordinance or                                     empfoyee, or by an entsty retained by
                   law that:                                                                   you, or for you, to inspect, design,
                   (1) Regulates the construction or repair                                    instaH, modify, maintain, repair or
                        of any property;                                                       replace ihat system.
                   (2) Requires the tearing down of parts of                              (2) To tt►e extent tltat "eiectronic data" is
                        any property not damaged by a                                           not repiaoed or restored, the ioss will
                        Covered Cause of Loss; and                                              be valued at !he cost of replacement
                                                                                                of the media on which the "eiectsonic
                   (3) fs in force at the tirne of bss.                                         data" was stored, witlh biank media of
                   NQWEVER, coverage is not extencled                                           substaniiaRy identcat typa.
                   undar this Business Income and Extrtra                                 (3) The most we will pay under this
                   Expense-4ncreased Period of Restoration                                      Eiectronic Data Coverage Extension
                   Due to Ordinance or law Extension to                                         for aU ioss or damage sustained in any
                   inciude loss caused by or resulting from
                                                                                                one po6cy year, negarcdless ot the
                   the enforcement of any ordinance or !aw                                      number of ocourrenoas of ksss or
                   which requires any insured or others to
                                                                                                damage or the number of bufidings,
                   test for, monitor, dean up, remove,                                          locations or "oorrpuUer" systoms
                   contain, treat, detoxify or neutraiize, or in                                invohred, is $10,000, unless a higher
                   any way respond to, or assess the effects                                    Limit of tnsuranoe is shown in the
                   of 'poltutants'.                                                             Dectarations. ff ioss payment on tfie     ®
                                                                                                 frcst occumsnce does not exhaust lhis
    Rage 18 of 39              Indudas cvpyrigMed mater'rel of Insurance Services Ofrica. hu., with its permission.   PB 00 02 04 11
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                                                                                                                            PB 00 02 04 11
                           amount, then the baiance is available                                   in one poNcy year and continues or
                           for subsequenttoss or damage                                            resufts in additional loss or expense in a
                           sustained in, but not after, that poficy                                subsequent poficy year(s), aa ioss and
                           year. With respect to an occumence                                      expense is deemed to be sustained or
                           which begins in one poC+cy year and                                     incuned in the policy year in which the
                           continues or results in additionai ioss                                 intemrption began.
                           or damage in a subsequentpoficy                                     (3) Ths interruption of Computer
                           year(s), aEl loss or damage is deemed                                   Oparabons Coverage Extension does
                           to be sustained in the poiicy year in                                   not appfy to loss sustained or
                           whioh the occurrence began.                                              expense incurred after the end of the
                      (4) Tltis Eiectronic Data Coverage                                           "period of restora6on", even if the
                          Extension does not appiy to iosses                                       amount of atsurance stated in (3)
                          covered under the Equipmant                                              above has not been exhausted.
                          Breakdown Addiffonal Coverage.                                       (4) Coverage tor Business income does
                  m. lnterruption of Computer Oper+sftamss                                         not apply when a suspension of
                      (1) You may extend the insurance that                                        `operafions" is caused by destnicfion
                          appiies to Business income and Extra                                     or corruption of "electronic data", or
                           Expense Additional Coverages to apply                                   any ioss or damage to "eiectronic
                           to a suspension of 'operations" caused                                  data", except as provided under
                           by an interrup6on in "computer`                                         paragraphs (1) through (3) of this
                          operations due to destnuction or                                         interruption of Computer Operafions
                           corruption of "eiectronic, data" due to                                  Coverage Extension,
                           "specified causes of loss", Coilapse or a                           (a) Coverage for Extra Expense does not
                           "computhr" virus, harmful code or simiiar                               appiy when action is taken to avoid or
                           instrvction introduced into or enacted on                               miniracze a suspens'ron of "operations"
                           a"computer" system (inciuding                                           caused by destruction or cxirruption of
                           "eiectronic data") or a network to which                                "eiectnonic data", or any ioss or
                           it is connected, designed to damage or                                  damage to "electronic data°, exceptas
AML                        destroy any part of the system or disrupt                               provided under paragraphs (1) thnwgh
                           its normal operation. But there is no                                   (3) of this interrupfoon of Computer
                           coverage for an interrup6on retated to                                   Operations Coverage Extension.
                           manipulation of a"computer" system                                  (6) This lnterruption of Computer
                           (induding'eiectronic data"} bY anY                                      Operaiuons Coverage Extension dioes
                           empioyse, inciuding a temporary or                                      not apa~Y to bsses covered under the
                           teased emPioYee, or bY      an en~Y                                      Equipment Breakdown Addifional
                          retaained by you, or for you, to inspect,                           Coverage.
                          design, install, modify, maintain, repair
                          or replace that system.                               BEXCLliS9ONS
                                                                                  1. We wiD not pay for }oss ar dantage caused
                      (2) The most we will pay under this
                          Interruption of Computer Operations                        di►ectly or incf'irectty by any of the fotfowing.
                          Coverage Extertsion for aU foss                            ~~ b~ or ciamage is exduded regardfess
                          sustained and expense incurred in any                      of any other cause or event that contributes
                          one poficy year, regardiess of the                         ~~~ntiy or ~ any sequence to the loss.
                           number of interruptions or the number of                       T1'►ese exciusions apply whether or not the
                           buifdings, locafions or "cornputet"                            ioss event resufts in widespread damage or
                           systems invoived, is $10,000 unless a                          affeds a substanfW area.
                           higher Limit of insurance is shown in the                      a- Ordkmma Or Law
                           Dedarations. If loss paymentrelating to                             The enforcementof any ordinance or law;
                           the first interruption does not exhaust                             (1) Regulating the construction, use or
                           this amount, then the balance is                                        repair of any property; or
                           avaAabte for ioss or expense sustained
                           or incurred as a resuft of subsequent                               (z) Requiring the taaring down of any
                           interruptions in that policy year. A                                    property, mdudGng the cost of
                           balance remaining at the end of a poficy                                  removing !ts debris; or
                           year does not increase the amount of                                 (3) Requiring the removal or disposal of
~                          aesurance in the next poficy year. With                                  "poputants".
                           respect to any interruption which begins
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                'fiis Orcbnance O► Law Exdusion applies                                    direct physicat ioss of or damage to
                mrhelber tt►e ioss resutis from:                                           Covered Property.
                (1) An ordinance or !aw that is enforced                            c. Csoverv>tm®re8ai dlc6on                            AML
                      even 'rf fhe property has not been                               Seizure or destruction of property by
                      damaged; or                                                      order of govemn3entai authority.
                (2) The increased costs incurred to compiy                             But we wfN pay for bss or damage
                      with an ordinance or iaw in the course                           caused by or resuftirlg from acts of
                      of oonstruction, repair, renovation,                             destruction ordered by govemmentat
                      remodei'ing or demoi'Ition of property or                        authority and taken at The time of a fire to
                      removaf of its debris, following a                               prevent Rs spread, if the fire would be
                      physical ioss to that property.                                  covered under this poficy.
             b. Earth Moveanen9                                                     d. Brtuciemr Hazwd
                (1) Earttrquake, induding any earth sthidng,                           Nuctear reaction or radiation, or radioactive
                    rising or shifting relathd to such event                           contamination, induding but not fimited th
                (2) Landsfide, inciuding any earth sinking,                            radon gas, however caused.
                    risnrtg or shifting relathd to such event;                         But if nuciear reacfion or radiation, or
                (3) Mine subsldence, meaning subs'Idence                               radioactive contamination, resutts in fire,
                    of a man-made mine, whether or not                                 ave will pay tor ihe ioss or damage c.aused
                    niming aativily has ceased;                                        by that fxe.
                (4) Earth sinking (other than sinkhote                                    Lititity Services
                    collapse), rising or shif5ng indudmg                                  The faiiure of power, commun'u:a5ort,
                    soil condi`ons which amse settj'ing,                                  water or other ufifity senrice suppf'ied tn
                    cracking or other desarrangement of                                   the described premises, howevercaused,
                     foundations or other parts of realty.                                if the talture orxurs arovay from the
                    Soil conditions inciude contractbn,                                   descrfbed premises.
                    expansion, freezing, thawing,
                                                                                          Failure of any u4iVty sentice thciudes iack
                    eros'ion, improperiy compacted soif
                                                                                          of sufficient capacity and ra3duc6on in
                    and the aciion of water under the
                                                                                          suppiy.
                     ground surtace.
                                                                                          Loss or damage caused by a surge of
                But if Earth Movement, as described in (1)
                                                                                          power is also exduded, if the surge wouid
                through (4) above, resuits in 5re or
                                                                                          not have occurred but tor an event
                expbsion, we wil pay tor the ioss or
                                                                                          causing a taiiure of power.
                damage caused by that fire or explosion.
                (5) Votcanic eruptlon, expiosion or                                       Sut if the faiiure or surge of power, or the
                                                                                           ffaBure of communication, water or other
                    effttsion. But if voicanic enupfion,
                                                                                          utiiity senrice results in a Covered Cause
                     expbsion or etfusion resufts in fire, -
                                                                                          of Loss, we wiH pay tor the (oss or damage
                     buikfing giass breakage or volcanic
                                                                                           caused by that Covered Gause of Loss.
                     action, we will pay tor the foss or
                     damage caused by that fire, building                                  Communicabon services Include but are
                     gtass breakage or vofcanic action.                                   not lmitad to service refathng to intemet
                                                                                           access or access to any electronic,
                     Voicanic action means direct ioss or
                                                                                           cefluiar or satWite networic.
                     cfamage resufting frorn the eruption of
                     a voicano uvhen the ioss or damage is                                 lT»s exdusion does not appiy to ioss or
                     causad by:                                                            damage prov'Ided under the Equipment
                                                                                           Breakdown Addifional Goverage.
                     (a) Airbome voicanic biast or
                          airborne shoch araves;                                           War llnd A9bf6tery /kction
                     (b) Ash, dust, or parficuiate matter, or                              (1) War, inciuding undeciared or civil war;
                     (c) Lava fiow.                                                        (2) WarNke action by a mliitary torce,
                                                                                                inctu.d'ang action in hindering or
                     Atl votcanic eruptions that occur
                                                                                                dafending a,qainst an actued or
                     wi6iin any t68-hourperiod will
                                                                                                expected attadc, by any govemment,
                     constitute a sfngte oocurrence.
                                                                                                sovereign or other authority using
                      Votcanic ac6on does not indude the
                     ocost to remove ash, dust or
                                                                                                mMRary pen;onnel or other agents; or       ®
                     particutate matter that d+oes not cause
    Page 20 Of $9             tnciudes copyrighted material o1 tresmance Servicas Ofiice, tnc., vrifh its parmission.   P8 00 02 04 11
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                                                                                                                               PB Oit 02 04 11
                        (3) insurrection, rebeliion, revolution,                           h. Ftangi, aR►et Rot Or Drj► Ro4
                             usurped power, or action takert by
                             govemmentak authority in hindering                               presence, growth, proi'rferation, spread or
Amik
                            or defending againstany of these.                                 any activity of "fungi , wet rot or dry rot.
                   g.   Water                                                                    But if "fungi', wet rot or dry rot result in a
                                                                                                 'spacified cause of ioss', we wgi pay tor
                        (1) Flood, surface water, waves                                          ttle foss or damage caused by that
                            (inciuding tidal wave and tsunarni),                                 'specifled cause of toss'.
                            tides, tidai water, overfiow of any
                            body of water, or spray from any of                                  This exciusion does not apply:
                            these, afl whether or not driven by                                  (1) When "fungi', wet rot or dry rot resuft
                            wind (including storrn surge);                                            irom fire or i'ightaiing; or
                        (2) Mudskde or mud'flow;                                                 (2) To the extent that coverage is
                        (3) Water that backs up or overflows or is                                    provided in the Limited Coverage For
                            otherwise dlscharged irom a sewer,                                        Fungi, V1iet Rot Qr Dry Rot Addtionai
                            drain, sump, sump pump or related                                         Govesage, wi#h respect to loss or
                            equipment, except as provided under                                       damage by a cause of loss other than
                            the Back Up Of Sewer Or Drain                                             fm or rqhtning.
                            Water Damage Additional Goverage;                               i.   Y'mets Or Bacteria
                        (4) Water under the ground surface                                       (1) Any virus, bacterium or other
                            pressing on, or flowing or seeping                                        microorganism that induces or is
                            through:                                                                 capabfe of inducing physical distress,
                            (a) Foundations, wahs, tloors or                                         iUness or disease.
                                 paved surtaces;                                                 (2) }iowever, the exciusion in paragraph
                            (b) Basements, whether paved or                                          (1) does not apply t:o ioss or damage
                                 not; or                                                             caused by or resui6ng from "tungi ,
                                                                                                      wet rot or dry rot. Such ioss or damage
                            (c) Doors, windows or otP►er                                             is addressed in Exciusion h.;
                                 openings; or
                                                                                                 (3) W~ith respect to any loss or damage
                        (5) Vlfaterbome material carried or                                          subject to the exciusion in paragraph
                            otherwise moved by any of the water                                      (1 }, such exciusion supersedes any
                            referred to in paragraph (1), (3) or (4),                                 exciusion retating to 'pofiutants'.
                            or matesial carried or otherwise
                            moved by mudsf'rde or mudfiow.                            2     yye wf~) not pay for loss or damage caused by
                                                                                            or resulting from any of the foltawing:
                        This exctusion applies regardtess of                                a    ~~~c~                ~~s
                        whether any of the above, in paragraphs                                              ~~
                        (1) through (S), is caused by an act of                                  Artificialiy generated electrical, magnefic or
                        nature or is otherwise caused. An                                        electromagnefic energy that damages,
                        exampie of a s'ttuation to which this                                    disturbs, dtsrupts or otherwise interferes
                        exciusion applies is the situafion where a                               with any:
                        dam, levee, seawafl or ott►er boundary or                                (1) Eiectrical or eiectronic wire, device,
                        oontainment system faifs in whole or in                                       app6anoe, system or network; or
                        part, tor any reason, to contain the water.                              (z) Dev'ice, appfiance, system or network
                        HOWEVER, if efecfical "covered                                                utr'frzing ceiiufar or satel{ite technobgy,
                        equipmenY requires drying out because                                    For the purpose of this exctusion,
                        of ihe above, we wiB pay tor the direct                                  e► ectr'scal, magnetia or eiecftmagnetic
                        expenses of such drying out subject to
                                                                                                 energy inciudes but is not fimited to:
                        the appiicable Limft oi tnsurance and
                        deductible for Bulding or Business                                       (1) Efectrical cum3nt, induding arcing;
                        Personal Property, whichever appfies.                                    (2) Electrical charge produced or
                        But lf any of the above paragraphs (1)                                       conducted by a magnetic or
                        through (5), resutts in fire, expiosion or                                   efectromagnetic fietd;
                        sprinider leakage, we wiU pay for fhe ioss                               (3) Puise of electromagnetic energy; or
                        or damage caused by that fire, expios'ion                                (4) Bectromagnetic waves or microwaves.
                        or sprinkier leakage.
                                                                                                 But if fire resufts, we wUl pay for the ioss
®                                                                                                or damage caused by fire.

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                 This Electricai Apparatus exciusion does                              ihis exclusion does not aPpiy to acts of
                 not appiy to the coverage provided under                              destruction by your ampioyeas (inciud'ing
                 the Equipment Breakdov►m Adcf'itionaf                                 ieased employees); but theft by                        Alk
               Coverage,                                                               emptoyees is not covered.
            b. Gmeeseqamtiaf LAsses                                                    With respect to Covered Property, inciudtng
               Deiay, ioss of use or loss of maricet                                   accounts recsnrable and 'vaivab4a papers
                                                                                       and records', this exciusion does notappiy
            c. SmnoBce, Yapor, Gas                                                     to carriers for hire.
                 Smoke, vapor or gas trorn agricuitura!                                This exdusion does not appiy to coverage
               smudging or industriaS operations.                                       that is provided under the Employee
            d. Steam Apparattas                                                         dishonesty Optional Govetage.
                 Exptosion of steam boifers, steam pipas,                          g. Fayse Pretense
                 steam engines or steam turbines owned                                  Voiunb3ry parting vsith any property by
                 or leased by you, or operated under your                               you or anyone eise to wwhom you have
                 controt. But if explasion of steam boilers,
                                                                                        entrusted the property iF induced to do so
                 stham pipes, stsam engines or steam                                  by any trauduient schame, tricbc, devtce or
                 thrbinas results in fxa or combustion
                                                                                      ~e pratense.
                 expiosion, we vugl pay for the foss or
                 damage caused by that fire or                                     h. Exposed Praprty
                 combustion exptos'ton. We vin'll aiso pay                            Rain, snow, ice or sleet ta personai
                 for ioss or damage caused by or resulting                            property in the apen.
                 from the explosion of gases or fuel within                        i. Coliapse
                 the tumace of any fired vessel or within
                 the Bues or passages through which the                               { 1) Catlapse, including any of the
                 gases of combustion pass.                                                 f~olkowing cond'~ions of proparty or
                                                                                           any Part of ihe property.
                 This Steam Apparatus exclusion does not
                 appiy b the coverage provided under the                                   (~ ~~tiPi fa4~ng do~,m or caving
                 Ec~ipment Breakdown Additieonal                                                 m'
                 Covemgg,                                                                    (b) Loss of structural integrity,                      ~
                                                                                                  incfuding separafion of parts of the
            e    Frazen Pianbieeg
                                                                                                  P~rty or property in danger of                    ~
                 Water, other ia4~tds, Powdar or molten                                           fafi~ng down or caving in; or
                 rnateriaf that leaks ar fiows from                                                                                                 1
                 pfumbing, heafing, air condifioning or                                    (c) My cracking, buiging, sagging,                       !
                 otttier er}uipment (except fire protective                                    bend'ing, leaning, settGng,
                 systems) caused by or resultng tram                                           shrinkage or expansion as such                       l
                 freezing, uniess;                                                             condifion reiates to paragraph
                                                                                               i.(1)(a) or i.(1)(b).                                ~
                 (1) You do your best to maintain heat in
                      the building or structure; or                                     BsA gcoPaPse results in a Covered Cause                     {
                                                                                        of Loss at the described premises, we wiH                   I
                 (2) You drain the equipment and shut off the                           pay for the loss or damage caused by
                      suppiy if the heat is not maintaine.d.                            that Covered Cause of Loss.
            f.   Dishane.ety                                                            (z) This Exciusion i., does not apply.
                 CYishonest or criminaf acts by you, anyone                                 (a) To the extent that coverage is
                 else wifh an intarest in the property, or                                      prav'rcted under the CoBapse
                 any of your or their partners, "members',                                      Additiona! Coverage; or
                 ofl3Cers, "managers', empioyees
                 (induding ieased empioyess), directors,                                    (b) To cogapse causad by ane or
                                                                                                more of fhe folbwu►g:
                 trustees, authorized representatives or
                 anyone to whom you entrust the property                                          (i) The 'specified causes of
                 tor any purpose:                                                                     }oss';
                 (1) Aafmg abne or in coUusjon wlth                                               (ii) Breakage of building giass;
                     others; or                                                                   (iii) Weight of nain that coliects on
                 (2) Whether or not occurring during the                                                a root; or
                     hours of empkoyment.                                                         (iv) Weight of peop18 or personal
                                                                                                       ProPerty-                               ®

    Pa" 22 Of $9               hidudes copyrigMed maserial 01 fnsvrance 3arvicas Off6ce, inc., with b pennission.     PB QO 02 44 11
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                                                                                                                                 PLO00040
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                                                                                                                         IPB 00 02 04 11
                j.   Polfoatants                                                       m. Errars C)r Omissirotss
                     Vde wiD not pay for ioss or damage                                    Errors or omissions im:
                     caused by or resuitRig from the
                     discharge, dispersal, saepage, migraffon,                             ~1) pro9ramming, processing or storing
                     reisase or escape of 'poffutants' unless                                  data, as descnbed under "eiectronic
                     the discharge, dispersal, seepage,
                                                                                               data" or in any "computer
                                                                                                 operations; or
                     migrafian, retiease or escape is itself
                     caused by any of the "specified causes of                              (2) Processing or copying "vaivabfe
                     ioss". But if the dtscharge, dispersaf,                                    papers and records',
                     seepage, migration, retease or escape of                               Fiowever, we witl pay for direct physical
                     "poffutants" resutts in a"specified cause                              loss or damage caused by rasulfing fire
                   of loss', we wfif pay for the loss or                                    or expbsion if these causes of toss wouid
                   damage caused by that'specified cause                                    be covered by th'is coverage fom1.
                   of toss".                                                                This exdusion does not appiy to coverage
                k. Negiect                                                                  that is provided under the Emptoyee
                     hEeglect of an insured to use aii                                    Dishonesty flpfional Coverage.
                     reasonable means to save and preserve                             n. htstallation, Testing, Repatr
                     property from further damage at and after                            Errors or deficiency in design, instaliation,
                     the time of loss.                                                    testing, maintenance, modificafion or reparc
                I.   Ot3>Ier Types Of f..oss                                                of your'computer' system inc}uding
                     (1) Wear and tear;                                                     "etectronic data'.
                     (2) Rust or other carrosion, decay,                                    However, we wifl pay for dtrect physica!
                         deterioraf;on, hidden or fatent defect or                          foss or damagecaused by resuEting fire or
                         any quaGty in properly that causes it to                           expfosion if these causes of foss wouid
                         damage or destroy itself;                                          be oovered by this coverage form.
                     (3) Smog;                                                              Tt►is exdusion does not appfy to coverrage
                                                                                            that is provided under the Employee
                     (4) Sett[ing, cracking, shrinking or
                         expansion;                                                       Dishonesty Opfional Coverage.
                     (S) Plesting or infestation, or discharge or                      o. ®ectrica! D'esturbance
                         release of waste products or                                     Efectrical or magnetic injury, disturbance or
                         secrefions, by insects, birds, rodents                           erasure of "electronic data', except as
                         or other animats;                                                provided under the Equipment Breakdown
                     (6) Mechanical breakdown, including                                  or Eiectronic Data Additional Coverages.
                         rupture or bursting caused by                                    However, we wifl pay for direct ioss or
                         centritugal torce, exceptas provided                             damage caused by lightning.
                         under the Equipment Breakdown                                 p. tealcage or Seepage
                          Additional Coverages.                                           Constant or repeatad seepage or leakage of
                     (7) The foflowing causes of loss to                                  water or steam, or the presence or
                         Personal property:                                               condensation of humidity, moisture or vapor,
                         (a) Dampness or dryness of                                         whether oontinuous or intennitesnt trom any:
                             atmosphere;                                                     (1) Fieafmg, air conditioning or
                          (b) Changes in or extrenmes of                                         refrigerafing system;
                               tsmperrature; or                                              (2) Domesfic appfiance; or
                          (c) PJlarring or scratching.                                       (3) Piumbing system, including from or
                     But if an exciudedcause of loss that is                                     around any shower stall or ott►er
                     fisted in paragraphs (1) through (7) above                                  shower bath instaUation, bathtub or
                     resutts in a'specified cause of loss',                                       other pfumbing focture.
                     `acc'ident" or building giass breakage, we                   3. We will not pay for loss or damage caused by
                     wgl pay for the bss or damage caused by                         or resut6ng trom any of the foflowing B.3.a.
                     that'specified cause of foss" or bufiding                       through B.3.c. But ff an excfuded cause of
                     grass breakage.                                                 bss that is listed 'm B.3.a. through B.3.c.
                                                                                        resuits in a Covered Cause of Loss, we wiA
®                                                                                       pay for the bss or damage caused by that
                                                                                        Covered Cause of Loss.
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                                                                                                                                  PLO00041
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   PB 00 02 04 11
           a. Wea8lroer Condligons                                                                  rebuiiding, repair or replacement
              Weafher condiGons. But this exdusion                                                  by sbikers or other persons; or
              oniy appGes 'rf wealber concfitions                                               (b) Suspension, iapse or cancetfation
              contribute in any way with a c,ause or                                                of any ficense, iease or contract
              event exduded in paragraph B.1, above                                                 But ff the suspensron, iapse or
              to produce the loss or damage,                                                        canceBation is directiy caused by
           bActs Or Decislom                                                                          the suspension of 'operations", we
                                                                                                      wfli cover such ioss tfiat affects
               Acts or dacisions, inciud'mg the failure to
                                                                                                      yoE►r Business Income during the
               act or decicie; of any person, gnsup,                                                  "period of restorafion' and any
               organizatlan or govemmental body.                                                      extension of ihe "period of
            c. Pieg6igent 1Afosk                                                                      restoration" in arxordance with fhe
                Eautty, inade4uaLe or defective:                                                      terms of 4he Extended Business
                (1) 1'lanning, zoning, deveiopment,                                              lncwme Adid'itionat Coverage.
                    surveying, sifing;                                                   (2) Any other consecpuentia{ ioss.
                (2) Design, speafications, workmanship,                               b. Wdh respect to tfiis exclusion, suspension
                    wrork methods, repair, construcfian,                                 means:
                     renovafion, remodsiing, grading,                                    (1) The partial siowdown or compiete
                    compactRan, failure to protect the                                       cessation ot your business activities;
                     prop";                                                                      and
                (3) Aliateriats used in repair, construc6on,                               (2) That a part or aN of the described
                    renovation or remode&ng; or                                                premises is rendered untenantabie,if
                (4) Maintenance;                                                                 coverage for Business income appGes.
               of part or all of any property on or off the                    6. Accounts Receivab6e Exehesion
               desaibed premises.                                                 The foNowing additionai exdusion appiies to the
        4. AddWxectat Eacelusion                                                  Acxounts Receivabie Coverage Extension:
           The kMowing appr'ies only to the property                              We wwfll not pay for
           specified in this Additional Exciusion.                                a. Loss or cfamage caused by or resulfing
           Lo$a Or Dannage To Prodaacts                                               trom atteratron, faisificafion, concaalment
           We vvgl not pay for bss or c3amage to any                                  or destruction of records of accounts
           merchandise, goods or other product caused                                 receivabie done to conceal the wrongfui
           by or resulting trom error or omission by any                              giving, taking or withhoiding of "money`,
           person or en6ty (induding those having                                      seourfties' or other property.
           possession under an arrangementwhere worfc                                 This exclusion app6es oniy to tfie extent of
           or a portion of ihe work is outsourced) in any                             the wrongtui giving, taking or withholding.
           stage of ihe deveiopment, production or use of                         b. Loss or damage caused by or resulting
           the pmduct, induding ptanning, testing,                                    from bookkeeping, accounting or bilTmg
           processing, packaging, instaUation,                                        errors or omissions.
           maintenance or repair. This exdusion appfies                           c. Any loss or dafnage that requires any
           to any effect tt~at compromises the form,                                  audd of records or any inventory
           substance or quality of the product. But tf such                           oomputation to prove its factual existence.
            en-or or omission results in a Covered Cause
           of Loss, we wtA pay for the ioss or damage                       C. L9MITS  OF fPtSl9RANCE
           caused by that Covered Cause of l.oss.                              1. The mostwe wdl pay for foss or damage in
        5. Blssinesg dnconie ,4nd EXtra Expecsse                                  any one occun-enoe is ihe applicable Lunits of
           Exclusions                                                             insurance sfioern in the Dedarations, except
                                                                                  as ofberwise provided in this Section.
           a. We wtil not pay for:
                                                                               2. The limits applicable to Addi6onal Coverages
               (1) My "extra expense", or increase of                                  are m add3tion to the Limits of insuranoe only
                     "business income" ioss, caused by or                           if so lndfcated in that Section of fhis Coverage
                     resutting fnxn:                                                Fomn.
                     (a) Deiay in rebuitding, repairmg or                        3. The i'units appl'u abie to the Coven~c e
                         reptacing the property or                                  Extensions are in addition to the Limits of
                         resunung'operations', due to                                  insurance.                                                ~
                         interference at the iocation of the
    Page 24 Of 39             hrcludes copyrighted material ot Irrsvrarce Servloas OFiic.e, tnc., with its permiss'ron.   PB 00 02 04 11
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                                                                                                                          PB 00 02 04 11
            4. Build'ing Lim@t— dtutoenafic increase                                              i3usiness Personal Property limit,
                a. The Limit of insurance for Buildings wiN                                       divided by 365.
                     automaticaliy increase by the annua!                                    Example:
                    percentage shown in the Deciarations.                                    If: The applicable limit is $150,000; and
                 b. The amount of increase is calculated as                                       The annual percentage increase is
                     follows:                                                                     3%; and
                     ( i) Altultipiy the Building flrnit that apptied                             The number of days since the
                          on fhe most recent of the poficy                                        beginning of the poficy year (or last
                          incepf'son date, the poficy anniversary                                 policy change) is 146;
                          date, or any other poiicy change
                                                                                                  Then tthe amountof increase is
                         amending the Buiiding Hrnit, times
                                                                                                  $150,000 x .03 x (146 / 365) = $1,800.
                     (2) The percentage of annuai increase
                         shown in the Decfarations, expressed                           c. The Autamafic Increase percentage tor
                                                                                             Business Persona) Property wM be the
                         as a decimal(exampie: 8°!o is .08), times
                                                                                             average annual Index shown in the
                     (3) 'fhe numberof days since the                                        Deciarafions. TKss percentage rnay
                          beg inning of the current policy year,                             change at each renewal date.
                          or the effective date of the most
                                                                                             In no eventwll the Limit of Insurance be
                          recent policy change amending the
                          Buildiflg limit, d~vided by 365.                                   reduced unless you specifically request
                                                                                             us to do so.
                     Exampie:
                                                                                   6. Bsasbness Personai Property I.imit —
                     lt: The applicabie i3uikiing iimit is                             Seasonat increase
                          $t00,000. The annual percentage
                          increase is 8%. The number of days
                                                                                        a. Subject to paragraph 6.b., the Limit of
                          since lhe beginning of the policy year                             insurance for Business Personal Property
                          (or last poficy change) is 146.                                    is automaticatty increased by 25% to
                                                                                             provide for seasonal variations.
                     The amount of increase is
                                                                                         b. The increase described in paragraph 6.a
                     $100,000 x .08 x (146 / 365) = $3,200.                                  wltl apply onty ff the Limit of Insurance
                 c. The Automafic Increase percentage for                                    shown for Business Personal Property in
~
                     Buiidings will be the percentage shown in                               the Decianafions is at ieast 100% of your
                     the Declarations. This percentage may                                   average monthiy vaiues during the lesser
                     change at sach renewal date, unless a                                   of:
                     different percentage is selected by you.                                (1) The 12 months immediatety
             S. Business Personaf Property Limi!—                                                  preceding the date the bss or
                 Automafic Increase                                                                damage occurs; or
                 e- The Umit of Insurance for Business                                       (2) The period of time you have been in
                    Pensonal Property will automaiicaDy                                            business as of the date the loss or
                    increase by the annuai percentage shown                               damage 000urs.
                    in the Deciarations.                                      D. DEDl1C718LES
                 b. The amount of increase is calculated as                        1. We wiN not pay for ioss or damage in any one
                     folbws:                                                            occurrence untO the amount of bss or damage
                      Multipty the Limit of insurance that
                    (1)                                                                 exceeds 1he Deductible shown in the
                          appi'ied on the most recent of the poficy                      Declarations. We witl fhen pay the amountof
                          inception date, the poGcy renewal date,                       loss or damage in excess of the Deductible up
                      or any other poGcy ctsange amending the                            to the appiicabie i.imit of Insurance.
                      Limit of Insurance, tirnes                                   2.    Regardless of the amount of the Deducbble,
                    (2)
                      The percentage of increase shown in                                tithe most we wiD deduct fnxn any ioss or
                      the Deciarations, expressed as a                                  damage to exterior buiiding giass in any one
                      d®cgnai (example: 2% is .02), 8mes                                occurrence is $250.
                    (3)
                      The number of days since the                                       But this $250 Deductible will not increase the
                      beginning of the current policy year,                              Deductible shovm in the Deciarations, This
                      or since the effective date of the most                            $250 Deductible wlA be used to safisty the
                      recent poficy change amending the                                  requirements of the Deductible in the
                                                                                         Dedarafrons.
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                                                                                                                                   PLO00043
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   PI3 00 02 04 11
          3. Pto cieduotlbte appfies b the toliowing                                             the settfemant of the cJaim. This wi8 not
              Additiona} Coverages:                                                              incnease fhe llmit of Insurance.
              a. F'ire Departrnent 5enr'sce Charge;                                              NOWEVER, we wiB not pay for any
              b. Fire Exfinguisher Recharge;                                                     subsequentIDss or damage resufting
                                                                                                 from a cause of loss fhat is not a
              c. Business Income;
                                                                                                Covered Gause of Loss.
              d. Extra Expense;                                                             (5) At our request, give us comptete
              e. C'ivil Aufhority; and                                                          istiventories of the damaged and
              f. Arson Reward tor Conviction.                                                   undamaged property. Indude
   E. PRQaPERT1f LOSS CCMIX31ONS                                                                 quanbities, costs, values, amount of
                                                                                                 toss ciaimed and a detaited
          1. Abandmrament                                                                        description of sach item.
              'Fhere can be no abandonmentof any                                            (6) As often as may be raasonabfy
              property to us.                                                                   requ'xed, permit us to inspect tffe
          2. Appraisat                                                                          damaged property and examine your
              If we and you disagree on the amount of ioss,                                      books and necords, irtdud'ing fmancial
              either may make writtan demand for an                                              records and tax retums.
              apprais al of the loss. in this event, each party                                  Atso petmit us to take sampMes of
              uvl sefect a competent and impartial appraiser                                     ttarnaged and undamaged property
              after receiving a written request from the other,                                   for inspec5on, testing and anaiysis,
              and wiq advise the other party of the name of                                       and permit us to make copies from
              such apprraisar wtthin 20 days. The two                                             your books and records.
              appraisers will select an umpire. If appraisers                               (7) 5end us a signed, swom proof of ioss
              can not agree, either may reWest lhat seiection                                     containing the informafion we request
              be mads by a judge of a court having                                                to investigate the claim. You must do
              jurisdiction. The appraisers wiA state separateEy                                   this within 60 days after our request.
              the vaiue of property and the amount of ioss. ff                                    We wiA supply you w{th the
              they W to agree, they wifl submit their
                                                                                                  necessary forrrss.
              dtfferences to the umpire. A dec'tsion agn3ed to
              by any two wil! be binding. Each party will:                                  (8) Gooperate with us in the investigat{on           mv
                                                                                                or settlement of the ctaim.
              a. Pay its chosen appraiser; and
                                                                                          (9) Resume afl or part of your
              b. 13ear the other expenses of fhe appraisal                                    •operations• as quickly as possibie.
                   and umpire equally.
                                                                                       b. We may examine any insured or their
              If there is an appraisat, we wiH still retain our                              empioyee under oath, whiie not in the
              right to deny the ciaim.                                                       presence of any othar insured or
          3. i)atties in The t-vent Of Loas Or Damage                                        employee, at such 6mes as may be
               a. You must see that the following are done                                   reasonably reWired, about any matter
                  in the event of loss of or damage to                                       reia6rig to this insuranoe or the ctaim,
                  Covered Pn:►perty:                                                         inciudmg an insured's books and records.
                  ( i) Notity the poflce if a law may have                                   At our option and expense, any
                      been brotcen.                                                          examination under oath may be video or
                                                                                             audio taped as weA as being n3corded by
                  (2) Give us prompt notice of the loss or                                   stenographic nacord. If a wriiten transcript
                      damage. inciude a descxipiion of the                                 is prepared of the testimony, then at our
                       property involved.                                                  request your answers under oath must be
                  (3) As soon as possibie, give us a                                       signed under penalty of per}ury.
                      description of how, when and where                          4    lega! Action Agakest Ua
                      the loss or damage occun-ed.
                                                                                       Plo one ntay bring a legaJ action against us
                  (4) Take all reasonabEe steps tD protect the                         under this insurance unless;
                       Coven3d Property from further damage.
                       If feasible, set the damaged pnoperty                            a There has been fufl compf<ance with all of
                       aside and in the best possible order for                              the terms of this insurance; and
                       examinaffon. Also keep a record of                               b. The actian is broughtwtthin 1 yearafter
                       your expenses necessary to protect the                              the date on which lhe direct physical loss            ~
                       Covered Property, for consideration in                                or damage occurred.

    Page 26 of 39               fndudes oopyrigtnted muteriat o1 lrs,rarroe services OFfrae, inc., with its permissian.   P8 QO 02 04 11
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I                                                                                                                                  PB 80 02 0411
f4                   5. lase E'ayereent                                                                        incurred had the buliding been
I                       fn the event of loss or damage covered by                                              buHt at the original premises.
~                       this pofiay: .                                                                     (b) You may make a claim for ioss or
                        a. At our op6on, we will eifher:                                                       damage covered by this insurance
1                            (1) Pay the vafue of iost or damaged                                              on an "actua) oash vatue" basis
                                  property as described in e. beiow;                                           instead of on a repiacement cost
!                                                                                                               basis. tn the event you etect to
                             (2) Pay the cost of repairing or replacing                                         have foss or darrrage settied on an
~                                  the iost or damaged property;                                                 actual cash vatue" basis, you may
                               (3) Take aU or any part of the property at                                       still make a daim on a repiacement
i                                  an agreed or appra'sseci vaiue; or                                           cost basis if you noti#y us of your
                               (4) Repair, rebuild or replace the                                               intent to do so within 180 days atter
                                   property +arith other property of like                                       the ioss or damage.
                                 kind and quality, subject to b, beiow.                                    (c) We will not pay on a rep3acement
                          b. The cost to repair, rebubd or repiace does                                        cost basis for any ►oss or damage:
                               not inciude the increased cost attributabie                                      (i) Unto the iost or damaged
                               to enforcement of any ordinance or law                                                property is actua4iy repaired
~                              regulating the construct►on, use or repair of                                         or reptaced; and
                               any proPerty-                                                                    (tt) Uniess tiie repairs or
                          c.   We wdl give nofice of our intenSons within                                            repiacement are made as
1                              30 days atter we receive the swom proof                                               soon as reasonab{y possible
                             of foss, provided you have compi'ied with                                             after the ioss or damage.
                             aU of the conditions set torth in paragraph                              {2} If the "Actua! Gash Value — Bu~ld'angs"
                             3. above.                                                                     optian appi'ies, as shoarn in the
                          d. Vde wifi not pay you more than your                                          Decfarations, paragraph (1) abave
                             financiaf interest in the Covered Property.                                  does not appiy to Suildings. instead,
    I                     e. Except as provided in (2) through (9)                                        we wiN determine the vakue of
    i                        balow, we wili determine t#re value of                                       Builkgs at "actual cash vaiue".
                             Covered Property as follows:                                             (3) The foflowing property at "actual cash
                             (1) At repiacementcost without deduction                                     vafue":
                                  for depreciation, sublect to the fofiowing:                             (a) Used or second-hand
                                   (a) We wil{ pay the cost to repair or                                         merchandise heid in storage or
     ~                                 replace, after appfication of the                                        for sale;
                                       deductible and without deducfion                                     (b) Property of others, other than
                                       for dapreciation, but not more                                           leased personal property you
                                       than fhe least of the foilowing                                          have a contractual responsibif'ity
                                       amounts, subject to E.5.b. above:                                        to insure, but this property ts not
                                       (i) The [.imit of insurance under                                        covered for more than the amount
                                            Phis policy that appfies to the                                     for which you are Gable, plus the
                                            lost or damaged property;                                            cost of fabor, materiafs or senvic:es
                                       (ii) The cost to repiace, on the                                          furriished or arranger} by you on
                                            same premises, the lost or                                          personal property of othars;
                                            damaged property with other                                     (c) Fiousehold contents, except
                                            praperty:                                                            personal property in apartments
                                            i. Of comparabie material                                            or rooms fumished by you as
                                                 and quafity; and                                                tandiord;
                                            R.  Used for the same                                           (d) Manuscripts; and
                                                purpose; or                                                 (e) Works of art, ani'iques or rare
                                        (in) The amount that you actually                                       articles, inck+ding but not fimited
                                            spend that is necessary to                                           to etchings, pictures, statuary,
                                            repair or repiace the iost or                                        marble, bronzes, poroeiain and
                                            damaged property.                                                    bric-a-brac.
                                        ff a bulciing is rebuit at a new                               (4) Gfass at the cost of replacementwith
         ®                              premises, the cost is fimited to                                   safety giazing materiat if rec;uired by
                                        the costwhich would have been                                      law.
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                (5) Tenants' improvements and                                                         (1) The amount of the accounts
                     Betterrnents at:                                                                     for which there is no Eoss or
                     (a) Repiacement cost if you make                                                     damage;
                         repairs promptEy.                                                            f1 The arnount of !he accounts
                     (b) A proportlon of your original cost                                               that you are able to
                         ff you do not nrake repairs                                                        neestabE'rsh or coliect;
                         promptEy. We wiN determine the                                               (iii) An amount to aYow tor
                         proportionate value as folioHrs:                                                   probabie bad debts that you
                         (i) AhultipEy the orisinal cost by                                                 are normaEEq unable to
                             the number of days trom the                                                    collect; and
                             ioss or damage to the                                                    (iv) All uneamed intarest and
                             'expiratron of ihe lease; and                                                  service charges.
                         (n) i3ivide tha amount detensuned                                 (8) "Stock" you have sold but not def'ivered
                              in(i) above by the number of                                      at the selfing price iess expenses you
                              days trom the installafion of                                     otherwise vrouEd have had.
                              irnprovements to the                                         (g) Business lncome and Extra Expense:
                              expiration of the lease.
                                                                                                (a) We wili deterntine the amount of a
                         Ef your fease contains a renewal                                            "business inconie' Eoss based on:
                         option, the expiration of the
                         renewal opfion period wiU repface
                                                                                                     (i) the net income of your
                          the expiration of the Eease in this                                               business before the d'irect
                          procedure.                                                                        physicaE ioss or damage
                                                                                                            ocourred
                     (c) Nofhing if ofthers pay for repairs                                                          '
                        or reptacement.                                                               {ii) the ikeiy net income of your
                                                                                                            business if no physical ioss
                (6) Appticab}e onty to Money and                                                            or damage or.curred, but not
                    Securifies Add'rtional Coverage:                                                        incl.idmg any fikeiy increase
                    (a) "Nloney' at its face value; and                                                     in-net-income atbibutabie to
                    (b) 'Securifies' at their vaEue at the                                                  an increase in the voiume of
                        close of business on the day the                                                    business as a resu{t of                 qp
                         loss is discovered.                                                                favorabEe business conditions
                (7) Applicabie only to Accounts Reeeivabie:                                                 caused by the impact of the
                                                                                                            Covered Cause of Loss on
                    (a) tf you cannot accurateEy establish                                                  customers or on other
                         the amount of accounts receivabie                                                  businesses;
                         outstand"ung as of the time of ioss
                         or damage, the folbwing method                                                (~~ t!'re operating expenses,
                         wiE be used:                                                                       indudmg payrop expenses,
                                                                                                            necessary to resusne
                         () Detennine the total of the                                                      'operations' with fhe same
                              average montttly aniounts of                                                 quarty of service that existed
                              accounts receivabEe for the 12                                               just before the d'irect physical
                              months immediateEy preceding                                                 loss or damage; and
                              the month in which the ioss or
                              damage oxurs; and                                                        (N) o~er reievant sources of
                                                                                                            Enfomtation, inciud'ing;
                         (9i) Adjust tlzat total for any
                              nonna! fluc~ations in the                                                     i.    financial records and
                             amount of accounts                                                                   accounting pn xedures;
                             receivable br the month in                                                     B.    bBEs, invoices and other
                             whidl the loss or danaqe                                                             vouchers; and
                              ocarfred or for any                                                         tn. deeds, rians and contracts.
                              demonstrated variance from                                          (b) We wi>I determine the amount of
                              the avenage for that monlf►.                                            'extra expense' based on:
                     (b) The foilowing wdl be deducted                                                (i) ala expenses that exceed the
                         from the total amount of accounts                                                nornal operaiing expenses
                         n3ceivable, howeverthat amount                                                   thatwouEd have been inourred              ®
                         is estabftshed:                                                                  by 'operatrons' durin;g the
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                                                                                                                       PB 00 02 04 11
                                 "period of restoration" if no                            against any en6ty, ittciuding the owner or
                                 direct physical ioss or damage                           insurer ofi the adjoining buiiding, and does
                                 occurred. The fofiowing wifl be                          not atter the terms of t'he Transter Of Rights
                                 deducted trom the total of such                          Of Recovery Against athers To Us
                                 expenses:                                                Condifion in this poi'icy.
                                 i.   the remaining saivage vaiue               &. Flecovered 1%perAy
                                      of any property bought for                   If either you or we recover any property after
                                      temporary use during the                     iass settiement that party must give fhe other
                                      "period of restorafion', once                prompt notice. At your option, you may retain
                                      "operations" are resumed;                    the property. But then you must retum to us
                                      and                                          the arnountwe paid to you for the property.
                                 ii. any 'extra expense" that is                   We wih pay nacovery expenses and the
                                      paid for by otlther insurance,               expenses to repair the recovered property,
                                 all necessary expenses that                       subject to the Limit of insurance.
                                 reduce the "business income"                      F{pWEVER ft, at the time of loss, the amount of
                                 ioss that otherwise wouid                         iass or damage to your property exceeded our
                                 have been ineuned,                                Limft of insurance and your property in excess
                f. Our payment for ioss of or damage to                            of the Limit of lnsurance was tumed over to us,
                   property of others will oniy be for the                         you retain your rights to necovery on such
                   account of the owners of the property. We                       unthsured property. We wil retum to you a
                   may adjust iosses with the owners of lost                       portion of any recovery an that property based
                   or damaged property if other than you. If                       upon the propordon of the loss in excess of our
                   we pay the owners, such payments wili                           Limit of tnsurance bears to the totai bss,
                   safisfy your ciaims against us for the                       7. Reeenoyption mf Opec.atiwts
                   owners property. We witl not pay the
                   owners morg than their financial interest                       Vtfe will reduce the amount of your:
                   in the Covered Property.                                        a Loss payabie under Business income
                g. We may elect to detend you against suits                             Addifiona4 Coverage, other than "extra
                   arising fram claims of owners of property.                           expense", to the extent you can resume
                   We wiD do this at our expense,                                       your'operations', in whoie or in part, by
                                                                                        using darnaged or undamaged property
                h. We wiii pay for covered toss or damage                               (n►duding merchandise or stocic)at the
                   within 30 days after we receive the swom                               described premises or eisewhere.
                   proof of loss, provided you have compiied                         b
                   with ail of the temzs of this policy; and                          Loss payabte under Extra Expense
                                                                                      Addit►onaf Coverage to the extent you can
                        (1) We have reached agreementwith                             retum "operrafions' to norma! and
                            you on the amount of iass; or                             discanfinue such "extra expense".
                        (2) An appraisal award has been made.                   g, vacancy
                i. A party wall is a wail that separates and is                    a. Qescription Of Terms
                   common to adjoining buiidings that are
                   owned by ditierent parties. in settling                            (1) As used in this Vacancy Cond~tion,
                   oovered iosses invoiving a party wall, we                              the term buiid'ing and the term vacant
                   wt7{ pay a proportlon of the ioss to the party                         have the meanings set falih ~(1)(a)
                   wall based on your interest in the wal in                              and (1)(b) bebw:
                    propor6on to the interest of the owner of                                  (a) VYhen this poiicy is issued to a
                    the adjoining building. i-towever, if you eiect                                 tenant, and with respect to that
                    to repair or replace your buifhng and ttte                                      tenanfs interest in Cove►ed
                    owner of the adjoining buiiding eiects not to                                   Property, buiiding means the unit
                    repair or replace that bullding, we will pay                                    or suite rented or ieased ta the
                    you the tull value of the loss to the party                                     tenant Such buik3ing is vacant
                    waH, subject to all appiicabie poficy                                           when it does not contain enough
                    provisions induding Limfts of insurance                                        business personai property to
                    and all other provisions of this Loss                                          conduct customary operattons.
                    Payment Condition. Our payment under the                                   (b) When this policy is issued to the
                    pmvisions of this paragraph does not aftgr                                      owner or generai tessee of a
~                   any right of subrogation we may have                                            buiidthg, buidng means the

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                        entire buiiding. Such buildmg 'ss                             mortgageholder shown in the
                        vacant unless at least 31 % of its                            Deckaratiorts in their onder of precedence,
                        totaf square footage is:                                      as interests may appear.                                Amk
                        (i) Rentad 10 a tessee or sub-                             c. The mortgagehoiderhas the right to
                             lessee and used by the lessee                            receive toss payment even If the
                             or sub-lessee to conriuct its                            mortgagehoider has started forecbsure or
                             customary operabons; andlor                              simPar acfion on the buikiing or structure.
                        (f}) Used by the build'sng owner to                        d, ff we deny your ciaim because of your aats
                             conduG customary operations_                             or because you have taged to compfy with
               (2) BuNdings under canstruction or                                     f}'►e terms of this po~cy, the mortgagehokier
                    renovation are not consldered vacant                              witl sti8 have the right to recaive ioss
                                                                                      payment if the mortgageholder.
            b. Vacancy ProeriWons
               It the buidding where iass or damage                                   (1) Pays any premium due under tltis
                                                                                             policy at our request if you have taiied
               occurs has been vacant tor more than 60                                       to do so;
                consecutive days befofe that toss or
                damage occurs:                                                           (2) 5ubmits a signed, swom proof of loss
                                                                                             xitriin 60 days after receivmg notrce
                                                                                             ►
                (1 ) We will not pay for any loss or damage
                                                                                              from us of your faiiure to do so; and
                     caused by any of the fo~owing even if
                     they are Covered Causes of Loss:                                    3 Nas notlfred us of an
                                                                                         {)                    y change in
                                                                                            ownership, oocupancy or substanTial
                     (a) Vandaftsm,
                                                                                              change in risk known to the
                     (b) Sprinkfer leakage, unless you                                     mortgageholder,
                         have protected the system                                    Atl of the terms of this poTicy wiH then
                         against freezing;
                                                                                      apply direcdy to the sreortgageholder.
                     (c) 13uDftg glass breakage;                                   e. If we pay the mortgageholderfor any loss
                     (d) YVater damage, includ'mg damage                              or damage and deny payment to you
                         that is caused by or resulbng                                because of your acts or because you
                         from freezing;                                                  have faiied to compfy with the temts of
                     (e) Theft; or                                                       this po!'icy:
                    (f) Rttempted thetL                                                  (1) The mortgagehoider's rights under the
                (2) Virith respecf to Covered Causes of Loss                                 mortgage will be transferred ta us to
                    other than #hose fisted in paragraphs                                    the extent of the amount we pay; and
                    (1}(a) 9hrough (1)(f) above, we will                                 (2) The mortgagehoider's right to recover
                     reduce the amount we wouid otheltwise                                    fhe full amount of the mortgagehoider's
                    pay tor the foss or damage by 15%.                                       c}aim will not be impaired.
    F. PFaOPER7Y GENEFiAL CONDfilONS                                                     At our op6on, we may pay to the
        The foliowing conditions appfy in addifion to the                                mortgagehofderthe whole principal on
        CDMMOhf POLICY CONDITIONS.                                                       the mortgage pius any accxved intersst.
        1                                                                                In thks event, your mortgage and note wlll
            C-otWoi Of Prop"                                                             be transferred to us and you w111 pay your
            AnYact or ne 9lect of an Y Person other than                                 remaining mortgage debt to us,
            you beyond your direction or ooniro( wifl not                           I.   If we oancel this PY~ we wi~ give writte~n
            afiect this insurance.                                                       notice to the mortgapeholderat Ieast:
            The breach of any condition of this Coverage                                 ( 1) 10 days before the etfective date of
            Form, other than 1he Conoealment,
                                                                                              ~~~~ ff~~~I for your
            Mssrepresentation or Fraud Common Poficy                                          nonpayment of premium; or
            Condition, at any one or more looations w8l
            not affect coverage at any bcation where, at                                 (2) 30 days before the effective date of
            the time of Ioss or ciamage, the breach of                                       canoeBation If we cancet for any ofher
            condliion did not exist                                                           reason.
        2. MwVagehoklem                                                             g. ff we elect not to ranew this poUcy, we wih
                                                                                         give wrftban nofice to the mortgagehokier
            a. The term mor~agehdderinciudes trustee.                                    at least 10 days before the expirabon
            b. We wiq pay for cavered ioss of or damage                                  date ot this policy.                                 ®
                to bu8dings or structures t.o each

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                3. No Benefit To Bailee                                                                   promotions, awards, proftt sharing,
                                                                                                         pensions or other empbyee benefrts
                   No persan or organization, other than you,
                                                                                                      earned in the normal course of
                   having castody of Covered Property wili
                                                                                                      employment} tor:
                   benaf'it fram this thsurance.
                                                                                                      (a) Any empioyee; or
                4. Poticy Period, Coverage Terri9ory
                                                                                                      (b) Any other person or organization.
                    tjnder this torm:
                                                                                               b. We will not pay for ioss or damage:
                    a. Vtie cover ioss or damage commencing:
                                                                                                  (1) Resulting from any dishonest or
                       (1) During the poiicy period shown in the
                                                                                                      criminat act that you, any af your
                           Declarafuons; and
                                                                                                         p~~~ ~~~~ or any of5cer of
                        2~thin the covera e
                       ()                      g territhD' ar, with                                     a cbsely held corporation commit
                            respect to proparty in transit, whtle it is                                 whether acting akane or in coliusion
                            between points in the coverage tenitory.                                    wit}I other persons.
                    b. The coverage territory is:                                                   (2) Resutfing trom any dishonest act
                       ( t) The United States of America (including                                     committed by any of your employees
                            its territories and possessians);                                           (except as prov'tded in paragraph a_),
                       (2) Puerto Rico; and                                                             "managers' or directors:
I                      (3) Ganada.                                                                      (a) Whelher acfing a4one or in
~           G. OP770MAL COVERAGES                                                                              coifusion +arith other persons; or
                If shawn as appiicabie in the Declarations, the                                       (b) Whiie perforrning services tor you
                foflowing Optional Coverages also apply. These                                            or othennrise.
                Optional Coverages are subject to the terms and                                   (3) The only proof of whioh as to its
                conditions appiicabie to property coverage in this                                    existence or amount'ts:
                poficy, exoept as providsd below.                                                     (a) An inventory computa6on; or
                1. Fmpioyee Oishonesty Opfional Coverage                                              (b) A profit and loss computation.
                     a_ tNe wiD pay for.                                                       c. The most we wi8 pay tor bss or damage
                         (1) Direct foss of or damage to Business                                 in any one oocurrence is the Linit of
  Ask                                                                                             Insurance fnr Employee Dishonesty
                             Personal Property and "money' and
,
  ip                         'sscurities";                                                           shown in fhe Deciarations.
                        (2) The legal obliga6on you have because                               d. Atl ioss or damage:
                            of the theft or unauthorized use of your                              (1) Caused by one or more persons; or
                            business credit, debit or charge cards                                (2) fnvolving a singie act or series of acts;
                            issued to you or registered in your
                            name or the name of your business;                                      is considered one occurrence.
                        (3) Loss resulfing from "traudulent                                    e.   If any ioss is covered:
                             instruction' directing a financiai                                      (1) Partly by this insurance; and
                             ins6tution to transfer, pay or defiver                                  (2) Partiy by any prior canoeiled or
                             'money" or "securities" trom your                                            terminated insuranoe that we or any
                             'transfer account'; or                                                       affiliate had issued to you or any
                        (4) t_oss directy related to the use of any                                       predecessorin interesfi
                             computer to frauduientky cause a                                        the most we wiii pay is the targer of the
                             transter of covered property from                                       amount recoverable under this insurance
                             inside the described premises to a                                      or the pdor insurance.
                             person (other than a messenger) or                                      V1►e wifl pay oniy tor ioss or damage you
                             plaoe outside those premises;                                           sustain through acts committed or events
                        resul5ng trom dishonest acts committed by                                    occurring during the policy period.
                        any of your emptoyees acting aione or in                                     Regardtess of ihe number of years this
                        coBusion wlth other persons (except you,                                     poticy remains in Porce or the number of
                        your partner or an oflricer ot a closety heid                                prerniums paid and regardless that
                        corporation) with the manifest mtent to:                                     previous poGcies were in effect, whether
                        (1) Cause you to sustain loss or damage;                                     issued by us, any affi}iated company or
                            and also                                                                 any other company, t>tis coverage sha>I
    ®                   (2) Obtain futancial benefrt (other than                                     not be cumulative from year to year or
                             sataries, commissions, tees, bonuses,                                   penod bo penod_

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           f.    This Erripfoyee Dishonesty Optional                                     (3) Any natural person vuho is leased to
                 Coverege is cancelled as to any empfoyee                                    you under a written agrsement
                 immed'iateiy upon discovery by:                                             between you and a iabor leasing firm,               dft
                 (1) You; or                                                                  to perfottn du8es reiatad to the
                 (2) Any of your partners, 'members",                                        conduct of your business, but does
                     "managers", otficers or d'irectars not                                  raat maan a ternporary empioyee as
                   in coliusion with the errtployee;                                         defined in paragraph (2) above;
               of any dishonest act committed by that                                    (4) Any natural person who is a former
               empioyee before or after being hired by you.                                  empioyee, director, partner,
                                                                                             "member", "manager", representative
            g. We wiD pay oniy for covered ioss or
                                                                                             or trustee retained as a consultant
               damage sustained during the poiicy                                            wh8e perfomdng sentices for you; or
               period and d►scovered no kater than one
               ysar trom the end of the poGcy period.                                    (5) Any naturai person who is a guest
            h. It you (or any predecessor in interest)                                       student or intem pursuing studies or
                 sustained loss or damage during the perrod                                 duties, exdudmg, however, any such
                 of any prior insurance that you couid have                                 person whiie having care and custody
                 recovered underthat insurance except that                                  of property outside any buiid'eig you
                 the time vaithin which to discover foss or                                 occupy m conducting your busutess.
                 damage had expired, we wiil pay tor it uncier                         13ut ampfoyee does not mean:
                 this Optional Coverage, provided:                                     (1) Any agent, broker, factor, commission
                 (1) This Optional Coverage became                                          merctrant, consignee, independent
                      efEective at the fime of cancellation or                              contractor or representatfve of the
                      terrrdnafion of the prior insurance; and                              same generai character; or
                 (2) The toss or damage woutd have been                                (2) Any'manager", director or trustee
                      covered by this Optionai Coverage                                     exeept whiVe performing acts coming
                      had it been in effect when the acts or                                within the usual dufnes of an empioyee.
                      events causing the ioss or damage                         2: OrdiR$me or Law OpbonW Codeirages
                     were oommitted or occurred.
                                                                                    a. The Coverage(s) provided by ~is
            i.   The insurance undar paragraph h. above                                Or~nar'ce °r Law Op6°nal C°verage
                 is part of, not in addition ta, the Limit of                          apply oniy if both paragraphs a.(1) and
                 Insurance ~~ g mto thds Optonal                                       a.(2) are satisfied and are then subjed to
                 Coverage and is f'anited to the lesser of                             the QuaGfications set forth in a.(3).
                 the amountrecoverabte under:
                 (1) This Optional Coverage as of its                                  ( i) The ord'inance or faw:
                      effective date; or                                                    (a) Aegulates the demolition,
                 (2) The prior insurance had It remained                                            consti'uction or repair of
                     in eftcL                                                                       buadings, or estabfishes zoning
                                                                                                    or tand use retiuiremen ts at tite
            j.   With respect to the Ernpioyee l3ishonesty                                          described premises; and
                 Opfwnal Coverage in paragraph G.3.,
                 empioyee means:                                                               (b) Is in force at the time of foss.
                 (1) Any natural person:                                                       But tltis Ordmance or Law Optional
                     (a) While in your sen+ice or for 30                                       Covera9e appfies onty in response to
                         days after tennination of service;                                    the minimum requiremertts of the
                                                                                               ondinance or faw. Losses and costs
                     (b) Who you oompensate directly by
                                                                                               ncurmd in complying whh
                         satary, wages or commEssions; and
                                                                                                recommended aotions or standards
                     (c) Who you have the right to direct                                       ihat ®xceed ac tual requirements are
                         and oontrol while perbrming                                           not covered.
                          seces
                            nri for you;
                                                                                          (2) T t►e budding sustains dvect physicat
                 (2) Any natural person who is furnished                                        damage:
                     temporariiy to you:
                     (a) To substltute for a permanent                                          (a) That is covened under this poticy
                         empbyee as defined in paragraph                                            and such damage resuks in
                         (1) above, who is on teave; or                                              enforoament of the ordinance or
                                                                                                     law; or                                     ®
                     (b) To meet seasonal or short-term
                          workload concfitions;                                                 (b) Tt►at is oovared under this poGry
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                         and direct physica! damage that                         a described buiiding and if a Covered
                         is not covered under this poiicy,                       Cause of Loss occurs to cavered Buiidng
                         and the building damage in its                          property:
                         entirety results in enforcement of                      (1) We will pay the cost to demoksh and
                         the ordinance or law.                                       ciear tfie site of undamaged parts of
                     (c) But if the damage is not covered                            the same building, as a consequence
                         under this poiicy, and such                                 of enforcement of an ordinance or faw
                         damage is the subject of the                                that requires demoiition of such
                         ordinance or iaw, fhen there is no                          undamaged property; and
                          coverage underthis Ordinance or                        (2) in addiiion to the ooverageprovided
                          Law Optionai Coverage even if                               for damaged portions of property
                          the buiiding has a4so sustained                             under the tncreased Cost of
                          covered chrect physicai damage.                             Construction — Damaged Property
                (3) In the situation described in a.(2Xb)                             Additional Coverage, we wtil also pay
                     above, we will not pay the full amount                           for the increased casts to naconstruct
                     of loss otherwise payabie under the                              or remodel undamaged portions of
                     terms of this Oniirtance or Law                                  that Buikbng property, whether or not
                     Optional Coverage. instead, we wiil                              demo6bon is required when the
                     pay a proporfion of such foss;                                   increased cost is a conse cpuence of
                     meaning the propor5on tf>iat the                                 enforcement of the minimum
                     oovered direct physical damage bears                             requirements of the ordinance or law.
                     to ttte total d'srect physicai damage.                      F•tOVI[EVER, we will not pay for the
                     (Sec6on f. of this Ordinance or Law                         increased costs to reconstruct or remodel
                     Optionaf Coverage provides an                               undamaged portions of that Buiidmg
                     exampie of ihis procedure.)                                 property:
                     HflWEVER, if the covered direct                             (a) uniess the restored or remodefed
                     physical damage a3one woufd have                                 property is intended for simifar
                     resulted in enforcement of the                                   ocoupancy as the current property,
                  ordinance or faw, then we wt~l pay the                              uniess such occupancy is not
                  tug amountof foss otherarlse payabie                                permUted by Zoning or iand use
                   under terms of this Ordinance or Law                               ordinance or iaw; or
                   Optiona! Coverage.                                            (b) if the butiding is not repaired,
            b. Coverage 1- Loes to the t3ndaanaged                                    reconsbvcted or remodefed.
               Portion of Buiiding                                               Paragraph e, of 5. Loss Payment undar
               When the Declarations show that                                   Section E. PROPERTY LOSS
                 Ordinance or Law - Coverage 1 appiies at                        CONDR10NS does not appiy,
                 a described building and if a Covered                           T'he most we wdl pay tor the total of aU
                 Cause of Loss occurs to covered Building                        covered fosses under this Coverage 2 of
                 property, we wil) pay for the ioss in vafue                     Ordinanoe or Law Optlonal Coverage,in
                 of the undamaged poriion of the building                        any one occun-ence is the t.imit of
                 as a oonsequence of enforcement of an                           Insurance shown in the Declar-afions.
                 ordmance or iaw that requires demofition
                 of undamaged parts of the same buiidmg.                         The $25,000 Limit of insurance for
                                                                                 Increased Cost of Construction —
                 This Coverage 1 of Ordinance or Law                             Damaged Propetty qdditionai Coverage
                 Optional Coverage is inciuded within the                        remains avallabie tor dama ed          e
                 Lgnit of insurance shown in the                                                             g of
                                                                                  and is separate from the Limit p~ ~
                 Declarations as appiicabie to the covered                        Insurance shown in the Deciarations for
                 Buitding property. This por6on of the                            Ordinance or Law OP~nal Coverage 2.
                 Ordinance or Law Optional Coverage
                 daes not increase the Limit of insurance.                        This portian of fhe Oniinance or Law
                                                                                  Opfional Goverage is in addition to the
            c. Cflverage 2- i3emoiition Cost and                                  Limits of insurance.
                 Broadened Incmeased Coat of
                 Construction
                                                                             d. Additional Ternos and Condiiuons of
                                                                                Ordinance or Laar
               When the Deciarations show that
               Ornance
                 di    or Law - Cove e 2                les at                  (t ) The tenns of this Ord'mance or Law
                                         ~ ~~                                                Optionai Coverage appiy separately
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                   to each buiiding bb wtiich lhis                                                      n.  The l.imk of insurance
                   4pbonai Coverage appiies,                                                                apphCabie to the covered
               (2) With respact to this Orcfinance or Law                                                   i3uiichng property•                   AM
                   Optionai Coverage, we wi8 not pay for                                          {~i) If the property ts not repaired            qw
                   (a) Enforcement of any ordmance or                                                  or reptaced, we wifl not pay
                        iaw which reQuires tie                                                         more than the iesser of:
                        demo f~h'on,
                              t      repair, repiacement,                                              i. The `actuai cash vaiue"
                        reconstruction, remodeiing or                                                          of tFse bufii'ing at the time
                        remediation of property due to                                                         of foss; or
                        contamination by "poilutants' or                                                ii. The Limit of insurance
                        due to the presence, growth,                                                        appiicabie to the covered
                        proGferation, spread of any                                                            guikling properfl,.
                        activity of 'fungi , wet or dry rot or
                        bac~ria; or                                                          (b) VUhen Covsrage•2 appfies, the
                                                                                                 most we vAP pay for the Iotal of a4f
                    (b) The oosts associated wilh tne                                            covered iosses for Demoiition
                        enforcement of any ordinance,                                            Cast and Broadened increased
                        iavr, rufe, or reguiation which                                          Cost of Canstruction is tbe Limit
                        requires any insured or others to                                        of insurance far Goveraige 2.
                        test for, monitor, ciean up,
                                                                                                   ~~ ~ th~ ~~ of tnsurance,
                        remove, contain, treat, detoxiiy,
                        or neutraiize, or in any way                                               tbe fallowing iass payment
                                                                                                   p~visions appiy:
                        respond to, or assess the effects
                        of `pollutants', 'fungi", wet or dry                                       () For L3emofition CosE, we vAl
                      rot or bacterra.                                                                  not pay rnone than the
               (3) Under this O►dinance or Law Optionai                                                 amount you actuaiiy spend to
                                                                                                        demorsh and ciear ifze site of
                    Coverap, we wiN not pay for foss due
                    to any ord'mance or iaw that:                                                      the descnbed buitdmg.
                    (a) You were reQuired to compiy with                                           (0) Wdh respect to &oatlened
                                                                                                        tncreased Cost of
                        betore the toss, even if the
                       building was-undamaged; and                                                      Gonstruction:
                   (b) You fai}ed to compty wiih.                                                       i. We wM not pay for fhe
                                                                                                               ir►cseased cost of
               (4) Loss Payment                                                                                construcfion until the
                   (a) When Coverage 1 appiies, ioss                                                           property is actuaJMy                    I
                       paymentfor that buddng,                                                                 repaired or repiaced, at
                        inc~udng damaged and                                                                   tfie same or another
                        undama.ged portions, wdl be                                                            prairises; and                          ~
                        determined as foflows:                                                           ft.   Uniess the repams or
                        (i) If the property is repaired or                                                     repiacementare made
                            replaced, on the same or                                                           as soon as reas.onahiy
                            another premises, we wil) not                                                      possible after the ioss or
                            pay more than the iesser of:                                                       damage, not to exceed
                            i.   The amount you actuaiiy                                                       two years. We may
                                 spend to repair, rebuDd                                                       extend th'ts period in
                                 or reconstruct the                                                            wrifing during the two
                                 buiida►g, but not for more                                                    yeam•
                                 than the amount it wouid                                          (m If the buikfrng is repaired or
                                 cost to restore the                                                     repiaced at the same
                                 buiiding on the same                                                    descrbed premises, or if you
                                 described premises and                                                  etect to rebulCi at anottter
                                 to the same height, ftoor                                               pr+emises, the most we wffl
                                 area, styie and                                                         pay under Coverage 2 is the
                                 comparabie quaiity of the                                               increased cost of
                                 oreginat property insured;                                              cortstruction at the same
                                 or                                                                      descnbed premises.                       ~


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E                                                                                                                                      fs6 00 02 04 11
~                                       (iv) If the ordinance or iaw                          3, Optionat Amendment af Caverage -
~                                           rectuires reiocation to another                        Exckud@ Theft
        AMOk                                prem'sses, the most we will                            t/dhen = Excfudmg Theft" is stated in the
i                                           pay under Coverage 2 is the
                                           increased cost of construction                          Deciarafions after Busiiness PersomPat
~                                          at the new premises.                                    Property coverage, then under:
                           e. This Ordinance or Law Optional Covesage                              a. Paragraph 3. of Section B.
                              is not subject to the terms of the                                       ECCLIlSIONS, ihe foiiowing exciusion is
                                Ordinance or Law Exctusion, to the extent                                added'
                                that suct7 exdusion would conflict with the                         fltteft: Theff or attempted theft resutSing in
    ~                           provisions of this Optional Coverage.                               loss ofi or damage to Business Personal
                           f.   Exampie of Proporiionate Loss Paymentfor                            Praperty.
                                Ordinance or Law Coverage Losses                                b. The trAoney and Securiiues Addifionai
                                (procedure as set forth in Sectrcon a.(3) of                        Coverage, paragraph (1)(a) is tieieted.
                                this Ordisance or L.aw Opiuonal Coverage).               H. PROPERT'V DEFii4iTfONS
                                Assume:                                                     Tlae terms 'you", "your", "we", "us", "our" and
                                e Wind is a Covered Cause of Loss.                          "insured" are defined in the Preambfe of th'ts
                                     F#ood is an exctuded Cause of Loss;                    Caverage Form. The fiotiowing worcfs or phrases,
                                                                                              "thrch aPpear in quotation marics throughoutthis
                                o   The buiiding has a vaiue of $200,000;
                                                                                               Coverage Fonm and any of its enciorsements, are
                                o   Tota{ direct physica} damage tc                            defined as totiows:
                                  buRding: $100,000;                                           1. ^ Accidestt" means a fortuitous event that
                                e The ordinanoe or faw in this                                    causes d'rrect physical damage to "covered
                                  jurisd'iction is enforced when buiiding                         e4uipment". The event must be one of the
                                  damage equals or exceeds 50% of                                 foflowing:
                                  the buiiding's vaiue;                                           a. Mechanical breakdown, inciucfmg rupture
                                o Portion of cfirect physicai damage that                              or bursting caused by csntrifugai force;
                                  is covered (caused by windj :                                   b. Art~+cialiy generated etectrical, magnefic
                                  $30,000;                                                             or eieatromagnetic energy, including
                                . Porfion of direct pttysicai damage that                              eiectric arcing, that cfamages, disturbs,
                                  is not eovered (caused by fiood):                                    disrupts or ofhenxise interferes with any
                                    $70,000; and                                                         eiectricai or efectronic wire, dev'ice,
                                .   Loss under Ordnance or Law                                         appfiance, system or network;
                                    Coverage 2 of this endorsement:                                 c. Exptosion of steam boifers, sleam pipes,
                                    $60,000.                                                           steam engines or steam turbines owned
                                Step 1: Determine the proportion that the                                or feased by you, or open3ted under your
                                covered direct physical damage bears to                                   controt;
                                ttle tatal direct physical damage.                                  d.    Loss of or damage to steam boilers,
                                $30,000 divided by $100,000 =.30                                          steam pipes, steam engines or steam
                                                                                                          thribines caused by or resutting trom any
                                Step 2: Appiy that proportion to the                                      condibon or event inside such et}uipment;
                                Ordinance or Law ioss.
                                                                                                          or
                                $60,000 x.30 =$18,000
                                                                                                    e. Loss or damage to hot water boilers or
                                in this example, the most we urt'li pay                                otherwater heating equipmentaaused by
                                under thEs endorsement for fhe Coverage                                or resufting from any condition or event
                                2 loss is $18.000, subject to the                                       insicie such boilers or equipment.
                                app6cable Limit of insurance and any                           2",~Ctua! Cash lfaiue" means the cost to repair
                                other appficabie provFsions.
                                                                                                   or re oe Covered ProPehy, at fbe time of
                                PVOTE: The sameP rocedure aPP8es to                                      ~
                                                                                                   ioss or darnage, wt►®therthat property has
                                iosses under Coverage 1 of this                                    susta'ined parfial or total lass or damage, with
                                endorsement,                                                       materiai of f9Ce kind and quafity, subject to a
                                                                                                     deduetion for deterioration, depreciation and
                                                                                                     obsolescence.

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       3. "8usineee Income" mearts the:                                                     receives electrec;si power from an exterrtal
                                                                                         pm&r suppherunll not be considered a
             a. Net lncome (Nat Profft or Loss before                                    vehicle, aircraft or floating vessel.
                income taxes) that uvould have been
                eamed or incurred if no physicat ioss or                          7. "Dependient @Sraperty" means property
                damage had occun-ad, but not indud'ing                               oerned or operated by others, not includ'mg
                any (+iet Income that would iikely have                              any dsscribed premises, on vvhom you
                been eamed as a resuft of an Increase tn                             depend on to:
                the vohusse of business due to tavorable                             a. Defiver matrials or services to you, or to
                business oonditaons caitsed by the irnpact                               others tur your account Serv'tces tloes
                  of tha Covered Cause of Loss on                                           not incfude water, steam, fuel,
              customers or on other businesses; pius                                     communication, or power supply services.
           b. Necessary continuing norsnal operafing                                 b. Purchase your products or services.
              expenses incurred, whiie "operations" are                              c. tJ}anufacture products tor defivery b your
              suspanded, includ'ing payroll.                                             customers under contract of saie.
        4. "Co¢nputer" means:                                                        d. Attract customers to your business. But
           a. Programmable electronic equipmant that                                     this does not inciude firms in the business
              is used to store, retrieve and process                                     of promoGng or adverWng your bus'mess.
              data; and                                                           8. "El:ectronic data" means inforrrration, facts
           b. ftssociated peripheral equipment fFsat                                 or "computer" progrrams stored as or on,
              provides coenmunicafion, inciuding input                               created or used on, or tnansmitted to or from
              and output functions such as printing and                              `computer" software (niciuding systerns and
              auxiliauy functions such as data                                       appfications software), on hard or ffoppy
                  transm•ission.                                                        cbsks, CD-RCNIs, tapes, drives, cells, data               ~
             "Computer' inciudes those used to operate                                  processing devices or any other repositories
             production type machinery or eQuipment                                     of `conputer" software which are used with                ~
             "                                                                          alectronicatiy controNed equipment The term
        S.    Caa~sre9er~eii rr~on®y" maans an imitation of                             "computar' pragrams, referred to in the                   ~
             "money' that is ~tended tn deceive and to be
                                                                                        forego'nng description of electronic data,                I
             taken as genu'tne.
                                                                                        means a set of reiated eiectronic instructions
        6. "Cov®red eqeaipnoent" means, Covered                                         whieh d'irect tfte operations and functions ofi a             ~
             Property=                                                                  'computer" or c4evice connected to it, which
             a. That generates, fransmits or utifizes energy,                         enable tfie 'computer" or device to receive,                    ~
                inciuciing eieatronic communications and                              process, store, retrieve or send data.
                data processing equipment; or                                      9. "Extra Expetse" rneans expense incurred:
             b. Which, during nonnal usage, operates                                  a. To avofd or minimize fhe suspension of                       I
                under vacuum or pressure, oth'er than tfie                                business and to continue 'operations":
                  weight of its contents.                                                                                                             ~
                                                                                          (1 ) At the described premises; or                          ~
             None of the foltowing 'ts "covered equipment":                               (z) At replacementpremises or at                            (
             a. Structure, foundation, cabinet, comPartment                                       temparary loca6ons, including                       I
                or air supported structure or builcting;                                          refocation expenses and costs to                        I
             b. insufating or refractary mater'sat;                                               equip and operate the repfacement or
             c. Sewer piping, underground vessets or                                              ternporary locations.                               I
                piping, p'tping fomiing a part of a sprirtlder                          b. To minimite the suspension of business if                      I
                systam or water piping otfier than boiler                                  you cannot contthue 'operations'.
                fsedrvater piping, bosler oondensate retum                              c. To:                                                            ~
                piping a water Poing thmiing a part of a                                   (1) Re    or re      an            or
                retrigerating or aQ condifioning system;                                          ~        ~ce y ~o~~'                                    (
             d. Dragline,  excavation or oonstruction                                      (2) Research, rBpface or resbore the bst
                  ~ip                                                                          informafion on damaged "vatuable
                         ffient
                                                                                                   P"rs and records';                                     ~
             e. Eqti~me t manufactured
                           o           by you tor sale.                                       to the extent it n~duces the amount of ioss                     ~
             f.   Vefiida, akcratt or floatin9 vesssl or an y                                 that otherwise woukf have been payable
                  equipmerttmounted on such veFiicie,                                         under the Extra Expense Additional                              ~
                  aircxaft or fbating vessel. liowever, any                                   Coverage or the l3usiness Income
                  property that is stationary, perrnanentfy                                   Additionai Coverage.                            ®
                  lnslatled at a covered loc.atian and tffat
    Page $6 of $9                 lndudes eopyrigMed material o4 tresurance Serviras Office, fne., with its permission.   P8 00 02 04 11
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                                                                                                                                   PB 00 02 04 11

                   10, 'Froadcatent instrzac6ion` nmeans:                                       e. AdditionaJ Exemptions shown in the
                                                                                                     1)eLtarations as:
                       a.   Afl eiectronlc, telegraPtlic, cabte, teletype,
                          tetefacsimBe or teiephone instruction                                     (1) .lob Classi5cat;ons; or
                          which purports to have been transmitted                                   (2) EmpbYees•
                          by you, butwhich was in fact frauduientty                             Ordinary payroU expenses►nctude:
                          transmitted by someone else without your                              (a) Payrolt;
                          knowiedge or consent;
                                                                                                (b) Empioyee benefita, "rf drecfly retated to
~                      b. A tvritten instruction (other than those                                  payroft;
                            descxibed in Paragraph A.5.k.) issued by
~             you, which was forged or a4tered by                                               (c) FlCA payments you pay;
Isomeone other than you without your                                                            (d) Union dues you pay; and
                            knowtedge or consent or which purports                              (e) Vdorkers' compensation premiums.
                          to have been issued by you, but was if                           ig. "pefood oi restoraYion" means:
                          Eact trauduientty issued without your
                          knowledge or aonsent; or                                              a. For other than the Dependent Properties
                                                                                                   Additaonai Coverage and Busthess
                       c. An eie'ctronic, teiegraphic, cabie, tetetype,
                                                                                                   Income and Extra Expense— tncreased
                          telefacsimile, teiephone orwrittsn                                       Period of Restoration Due to Ordinance
                          instruction initiafly received by you which                              ar Law Additionai Coverage:
                          purports to have been transmtited by an
                            ernpioyee but which was in tact                                        (1 ) The Penod of time that:
                            fraudutentty transmitted by someone eise                                    (a) Begins the number of hours
                            without your or the empioyee's                                                  shown in the Deciarations aRer
                            knowiedge or conseni                                                                the time of direct physical ioss or
                   11. "Fungi" means any type or form of tungus,                                                damage caused by or resul6ng
                       incfuding mold or mifdew, and any                                                        trom any Covered Cause oF Loss
                       mycotoxins, spores, scents or by-products                                                at the descnbed premises; and
                       produced or reieased by tungi.                                                      (b) Ends on the earber of:
    Aftk           12. "Hatardous su6istance" means any                                                        (i) The date when the property
                       substance other than ammonia that has been                                                  at the described premises
                       deciared to be haazardous to hea{th by a                                                    shouid be reparced, rebuilt or
                       govemmental agency.                                                                           replaced with reasonabie
                   13. "6Ufanager" meats a person serving in a                                                     speed and simiiar quaiity; or
                       cfirectorial capacity for a limited iiabifity                                          (ii) The date when business is
                       company.                                                                                    resumed at a new pemzanent
                   14. "Il9eenber" means an owner of a liriiited                                                   bmhon.
                       fiability company represented by it.s                                          (Z) 'Period of re
                                                                                                                      estoratian' does not
                       membership interest, who atso may serve as                                         inciude any increased period required
                       a'manager".                                                                         due to the enforcement of any
                   15. "Money" means:                                                                      ordinance or !aw that
                       aa Currency, caths and bank notes whether                                           (a) Reguiates the construction, us•e
                          or not in current use and having a taee                                              or repair, or requires the tearing
                            vaiue; and                                                                           down of any property; or
                       b. Travelers checks, register checks and                                            (b) Requires any insured or others to
                            money orders he{d for saie to ihe pubiic.                                           test tor, monitor, clean up,
                                                                                                                remove, contain, freat, detoxity or
                   16. "Qperations" mean your business aciivities                                             neutrai'ize, or in any way respond
                       occurring at the described premises.                                                   to or assess the effects of
                   17. "Ortiinary payroll expenses" mean payroll                                              "pollutants'.
                       expenses for aU your employees except:                                         (3) The expiration dath of this po[icy wll!
                       a. Officers;                                                                        not cut short the 'period of
                       b. Executives;                                                                      restoration'.
                       c. Department Managers;
    ~                  d.   Empioyees under contract; and


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   PB 00 92 04 11                                                                                                                                      ~
            b_    For Business tncome and Extra Expense                                                 rephaced wlfh reasonabie
                 - tncreased Period of Restorafion Due to                                               speea and sirru'!ar quafity; or
                 Orddnanrs or Law Additional Coverage:                                             (ii) The date when your business
                 (1) 'f he period of time tf'rat:                                                       is resumed at a permanent
                                                                                                        new location.
                      (a) Begins:
                                                                                           (z) "Period of restora6on' does not
                           (? At the time of direct physicai
                                                                                                inciude any increased period required
                              ioss or damage for Business
                                                                                                due to the enforcament of any
                              income Additiona! Goverage;
                                                                                                oreiiinance or faw that:
                              or
                          (u) immediateiy after the fime of                                     (a) Regulates the construation, use
                                                                                                     or repair, or requires the tearing
                              d'Erect physica! ioss or
                                                                                                     8own of any property; or
                              ciamage for Extra Expense
                              Additional Coverage:                                              (b) Requires any insured or ot#rers to
                                                                                                     test for, monitnr, clean up,
                          Caused by or resuiUng from any                                             remove, contam, treat, detoxify or
                          Covered Cause of Lo.ss at the
                                                                                                      neutraEize, or in any way respond
                          described premises; and
                                                                                                      to or assess the effects of
                     (b) Ends on the earfier of:                                                   'pofiutants".
                         (i) The c3ate when the property                                   (3) The expira6on date of this poficy will
                              at ft descxibed prernises                                         not cut short the 'per►od of
                              should be repaired, rebuitt or                                    restoration".
                               replaced with reasonable
                               speed and simflar quatity; or                     19. "Perishab6® goods" mean personaf property
                                                                                     maintaared under contmlied conditions for its
                          (il) The date when business is                             preservation, and susceptible to bss or                               I
                               resumed at a new permanent                            damage if the controied oonc3ifions change.                           ~
                               ioca6on.
                                                                                 20_ "PofkiEaerts" mean any sotid, Fquid, gaseous
                 (2) "Period of restoration" inciudes any                            or ttfermal initant or contaminanl, inciud'ing but                    (
                      increased period required to repair or                         rtot fimited to smoke, vapor, soot, fumes, acids,                     ~
                      reconstructthe property to conform                             alkaiis, petroieum products and their
                      witft the minimum standards or any                             derisratives, chemicals and waste. Such irritants
                      ordirsance or law, in force at the time                        or contaminants are "pollutants" vuhether or not                      I
                      of ioss, that regulates ihe                                    they have any funciion in your business,
                      construction or repair, or requires the                         operations, premises, sites or bcations.
                      tearthg down of any property_
                                                                                      ytlaste inciudes but is not iirritted to materiafs
                 (3) The expirration date of ttris poficy wiQ                         to be recyded, reconddioned or reofaimed
                   not cut short the "period of                                      and Gvestoc4c, pouftry or o4her animal
                   restoration'.                                                     excrement.
            c. For Dependent Proper6es Additionaf                                21, •'aeaurf9ias" mean negotiable and non-
                 Coverage:                                                            negofiabfe instruments or contracts
                 (1) The period of time that:                                         representing either'money' or other property
                     (a) f3egins:                                                     and inducies:
                          24 hours aiter the time of direct                           a. Tokens, tickets, revenue and other
                          physical loss or ctamage tor                                    stamps (wfiether representad by actual
                          Business Income Add'itionad                                       stamps or unused vafue in a meter)
                          Coverage caused by or resulfing                                   whether or not in current use; and
                          from any Covered Cause of Loss                              b. Evidences of debt issued in connecfion
                          at the premises of the "dependent                                 with crecrit or charge cards, which cards
                          property'; and                                                  are not issued by you;
                      (b) Ends on the earfier of:                                     but does not inciude "money' or tottery tickets
                          (i) Tbe date when the property                              heid for sale.
                              at the premises of the
                              'dependentproperty' should
                              be n3paired, rebuift or                                                                                              ®


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               22. "Specified Caarses of Loss" means the                            23. "Stock" means merchandise held in storage
                   following:                                                           or for saie, raw materiais and in-process or
                  Ftre; fightning; explosion, windstorm or haW                          finished gootls, incheding suppfies used in
~                 smoke; aircraff or vehicies; riot or civii                            their packing or shipping.
                  commotion; vandaGsm; leakage from fire                            24. 'Transter accoeant' means an account
                  exfinguishing equipment; sfnkhoie coflapse;                           maintained by you at a financial instutution fram
                  voicanic action; faMng objects; weight of                             which you can inffiate the transter, payment or
                  snow, ice or skeet; watar damage,                                      dei'ivery of "money' and "securities":
                  a. Sinkhofe coliapse maans the sudden                                  a. By means of electronic, telegraphic,
                      sinking or coiapse of land into                                         cabie, teletype, teie#acsimile or teiephone
                       underground empty spaces created by the                               instructions communicated direcUy
                       action of water on iimestone or dobmite.                              through an electronic sunds transfer
                       This cause of loss does not inctude:                                  system; or
                       (1) The cost of fllfing sinkholes; or                              b. By means of written instructions (other
                       (2) Sinking or cotlapse of tand into man-                             than those descn'bed in Paragraph A.5.k.)
                           made undergroundcavities.                                         estabftshing the cond'fions underwhich
                                                                                               such transfers are to be initiated by such
                  b.   Fa[fing objects does not inctude ioss of or
                       danrage to:                                                           financial institu6on through an electronic
                                                                                             tunds transfer system.
                       ( t) Personal property in the open; or
                                                                                     25. "Vaivable Papers and recorels" mean
                       (2) The interior of a buitding or structure,                      inscribed, prtnted, or wrstten:
                           or property inside a buikiing or
                           structure, uniess the roof or an
                                                                                         a. Documents;
                           outside wall of the buiiding or structure                     b. Manuscripts; and
                          is first damaged by a tatt'ing object.                          c. Records;
                  c. Water damage means accYdental                                        tnciudtng abstracts, books, tleects, drawings,
                      discharge or ieakage of water or steam                              ftlms, maps or mortgages.
                      as the direct resutt of the breaking apart                          H04NEVER, "valuable papers and records"
                      or cracking of any part of a system or                              does not mean "money' or "securities".
~                      appiiance (other than a sump system
                       inchuding its related ec}uipment and parts)
                       containing water or steam.
                       HOthtE1ER, t3amage from constantor
                       repeated seepage or ieakage of water or
                       steam over a period of weeks, months or
                       years from any part of a system or
                       apptiiance containing water or steam is
                       not water damage.




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        PB 00 02 04 11              h►dudes copyrighted material af {navrance 8er4ices.01fice, tnc., with its permission     Page 39 of 39
    ACP 8P11                                                   qlSURED COPY                                                         78 6T766




                                                                                                                                   PLO00057
Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 59 of 66
                                                               FILED
                                                             Electronically
                                                             CV 17-01040
                                                        2017-05-30 10:49:53 AM
                                                           Jacqueline Bryant
                                                           Clerk of the Court

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               XHIBIT 664"
                                                                    PLO00058
           Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 60 of 66




Patrick N{ilisap

From:                                            Heiss, Nathan <HEISSN@nationwide.com>
Sent:                                            Tuesday, September 27, 2016 12:56 PM
fo:                                              Matt Ennis; Ashwood, Br•andon {Brandon Ashwood}
Cc                                               Nick Rossi; Austin, k.ynnette S
Subject:                                         RE: ERGS Claim 033862; Nationwide denial of fuEl coverage for this loss


Matt,

I have reviewed this claim with Brandon and conferenced it with our claims ieadership. The cases that were cPted by
Virginia were out-of=state and therefore are not binding in Nevada cvurts. We have not found any case law in Nevada
that addresses the issue that was raised. Our position is that there is coverage for the loss, subject to the limits of the
poficy.

Your statement that we are denying "full poficy coverage" because we are applying a iimit is not correct. Denials are onfy
issued in relation to coverage, not fimits, We are not denying this claim as the Backup of Sewer or Drain Water Damage
limitation appiies. Again, there is no coverage issue.

Thanks,


                ~(                 idathen R tfeiss
                                   RSanager, Camrrercial Propetty Claims
                       io o Proud Hai:ionvrfde RRerrber

        ;- -y
                       B E S T Commercial Claims
                       CDt~PANIES W 614446-4220 1 F 866-342-1354
                 C~r~~ iH7ra[Kfte' hEissn @netionevide.eti m
      N2l1`IOIbVY1~.,:~::.
      F7147LVlEbaetl   R= LY «e+lata7btln1vA91                                     Oamwt7Y-




From: Matt Ennis (mailto:matt.ennis@ipins.netj
Sent: Tuesday, September 27, 2016 2:30 PM
To: Ashwood, Brandon (Brandon Ashwood) <ASHWOBI@nationwide.com>
Cc: Heiss, Nathan <HEtSSN@nationwide.com>; Nick Rossi <nick.rossi@ipins.net>
Subject: ERGS Claim 033862; Nationwide denial of full coverage for this ioss

Brandon:

You are incorrect- you are in fact denying "full policy coverage" for this ciaim by applying the Backup of Sewer or Drain
Water Damage limitation. Based on the legal authority cited below, it is the insured's position that this loss is not
subiect to the Backup of Sewer or Drain Water Damaee Iimitation.

Also based on the iegal authority cited beiow, the insured maintains that water damage here caused by a
backup/overfiow that originates from a pipe or ciogged drain located within the insured's property Eine comes from the
insured's piumbing system and is covered bythe poficy.

Based on your refusal/denial to apply full policy coverage for this loss, Nationwide owes your insured a duty to cite
applicable legal authority per the statute below as to why this is not a fully covered loss. We look forward to
Nationwide's appropriate response.




                                                                                                                           PLO00059
          Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 61 of 66




From: Ashwood, Brandon (Brandon Ashwood) rmaiitn:ASHWO1310nationwide.com]
Sent : Tuesday, September 27, 2016 11:06 AM
To: Mat1 Ennis
Cc: Heiss, Nathan; Nick Rossi
Subjeci^ RE: ERGS Claim 033862

He►io Matt,

No cEaim denial has been issued because of the water back up. There was a partial denial issued on this loss because the
policyholder wanted to see if there was coverage for the tenant's personal 'stems, and there is unfortunatefy no coverage
for the tenant's items.

No deniaf was issued for the water/sewer backup. This is a covered cause of ioss under the poficy. This coverage does
inciude a$5,000.00 per buifding iimit (and $25,000.000 poiicy aggregate fimit). We paid the appiicabie iimit as stated on
the poficy.

If you have any further questions, piease Vet me know.

Thanks,

i3randon Ashwood




                                  Bmndon Ashwwod
              ~~~Q~~~~c          Clafms Speciarist II, Commerdal Property {A Review
                                 affite: West~~iAe OFi
               ~s on your slde
                                 W i614y 348-43121 Fax (866) 397-4424
                                  eshwobl@natiamvidecom


 ] Nationwide Mutual insurance Company
 x ] AMCO insurance Company
  j Allied Property and Casuaity insurance Company
 ] Depositors Insurance Company
 ] Nationwide insurance Companies of America
 ] Nationwide Property and Casualty insurance Co.
 ] Nationwide Mutual Fire insurance Company
 ] Nationwide Agribusiness insurance Company

Frorn: Matt Ennis (maiito:matt.ennis@Ipins.netl
Sent: Tuesday, September 27, 2016 1:49 PM
To: Ashwood, Brandon (Brandon Ashwood) <ASHW0B1C~nationwide.com>
Cc: Heiss, Nathan <HElSSNPnationwide.com>; Nick Rossi <nick.rossiCwtpins.net>
Subject: ERCS Claim 033862

Brandon:


Thank you for your response. However, your i-p-ply does not satisfy the fairness requirements of Nevada insurance claims
practices.




                                                                                                             PLO00060
        Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 62 of 66


Specifically, Nevada Revised Statutes § 686A.310(1)(n) requires Nationwide provide promptly to your insured a
reasonable explanation of the basis in the insurance policy, with respect to (1) the facts of the insured's claim and (2) the
applicable }aw„ for the denial of the claim or for an offer to settle or compromise the claim.

Below you explain your application ofthe facts to the insurance policy. However you do not reference "applicable law"
as required in subsection (n). In our 9/8/2016 email below, we explain to you our application of the facts to your policy
and we also reference "applacable law" in accordance witb the requirements of subsection (n.)

To meet Nationwide's "fairness" obliggation in considering this claim, please promptly provide the applicable law
Nationwide applies for your denial of this claim. Specifically we expeat Nationwide to cite authority that shows the
authority we cited below does not apply. VJe look forward to your response.

Matthew J. Ennis 1D CPCU ARM-P
Risk Management Services
LP insurance Services Inc.
775-996-6oZ1
(Direct) 209-586-S063
(Mobile) 209-768-9891
matt.ennis(Wlpins.net
SDG



From: "Ashwood, Brandon (Brandon Ashwood)" <ASHW0B1@nationwide.com>
Date: September 9, 2016 at 6:37:48 AM PDT
To: Virginia Bolman <virainia.bolman@Ipins.net>
Cc: Danielle Hill <danielle.hill@Ipins.net>, "Heiss, Nathan" <HE15SNC&nationw1de.com>
Subject: RE: Ei26S Ctaim 033862

        Good morning Virginia,

        We reviewed the case law below. The case law does not speak to the Back up of Sewer or Drain Water
        Damage additional coverage, only the Water exciusion.

        When reviewing our policy (PB 00 02 1114), water damage is defEned in the poiicy as the "accidental
        discharge or leakage of water or stream as the direct result of the breaking apart or cracking of any part
        of a system or appliance". This is not what occurred here. The pipe became clogged due to the use of
        baby wipes by the tenant, which caused water to back up through the toilet drain pipe and overftow.

        Under the Water Exclusion in the poficy, it states that there is no coverage for " water that backs up or
        overfiows or is otherwise discharged from a sewer, drain pipe, sump, sump pump or related equipment,
        except as provided under the Back Up Of Sewer Or Drain Water Damage Additional Coverage,"

        When reviewing the Back up of Sewer or Drain Water Damage additional coverage, it provides coverage
        for "Covered Property caused by water that backs up or overflows from a sewer or drain pipe, sump
        pump well or similar device designed to prevent overflow, seepage or leakage of subsurface
        water." The water back up occurred within the toiiet drain pipe, causing an eventual overfiow. This is
        covered in the policy, but iimited to $S,000 per buiiding and $25,000 in any one polic-y period.

        The additional coverage specificaliy speaks to iosses that occur from a backup within a drain
        pipe. Because of this language, coverage wouid be appiied under this additional coverage and limited to
        $5,000.00 per buiiding.

        If you have any other questions, please let me know. My phone number is 614-948-4312.




                                                                                                                PLO00061
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Thanks,

Brandon Ashwood


[ ] Nationwide Mutual Insurance Company
( x j AMCO Insurance Company
[ j Al(ied Property and Casualty insurance Company
[ j Depositors Insurance Company
[] Nationwide Insurance Companies of America
[ j hkafionwide Property and Casualty insurance Co.
[] tValionwide Mutual Fire Insurance Company
[ ] Nafionwide Agribus'tness Insurance Company

From: Virginia Bolman fmailto:virginia.bolman@ipins.net]
Sent: Thursday, September 08, 2016 5:44 PM
To: Ashwood, Brandon (Brandon Ashwood) <ASHWOi31@nationwide.com>
Cc: Danielle Hill <danielle.hifl@ipins.net>
Subject: RE: ERCS Claim 033862

Dear Mr. Ashwood,

Thank you for returning my call today. As we discussed, we disagree with the application of the Backup
of Sewer or Drain Coverrage $5,000 poiicy limitation. We do not dispute the toiiet and its line were
clogged from the tenant flushing wipes which the maintenance technician found during his
inspection. The fact that the wipes were easiiy iocated by a maintenance person and not a plumbing
professional supports the assertion the clog was on-premises located within a plumbing system.

A complete review of the Nationwide policy shows this Additional Coverage is derived from the poficy
exclusion in B. Exclusions (g) Water. Property Damage is excluded from waterthat backs up or
overfiows or is otherwise discharged from a sewer, drain, sump, sump pump or related equipment
exceat as provided under the Backup of Sewer or Drain Water Damage Additional Coverage. A
reasonable person's interpretation of the undefined terms of sewer or drain would not inciude or
contemplate a ciogged toilet line which was easily viewabie or diagnosed by the apartment's
maintenance technician.

In a similar fashion, the Additional Coverage, Backup of Sewer or Drain Water damage does not define
the terms sewer or drain. However, the additianal ianguage "...similar device designed to prevent
overflow, seepage or ieakage of subsurface water." supports the assertion that an overffow from a
plumbing system was not the intention of the policy when Nationwide wrote the language.

This position is consistent with court decisions that support the proposition that water damage caused
by a backup/overfiow that originates from a pipe or clogged drain located within the insured's property
line comes from the insured's plumbing system and is covered by the policy and not subject to the
Backup of Sewer or Drain Water Damage (imitation. (See, Piche/ v. Dryden Mutual Insurance Company
117 A.D. 3d 1267 (2014); Haltsted v. Blue Mtn. Convalescent Center Inc. 23 Wash App 349, (1979)

We appreciate you and your manager reviewing the claim again, and payment in full of this covered ioss.

Very Truiy Yours,


V'irginia Boiman




                                                                                                    PLO00062
*   -i
         Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 64 of 66



         Risk Management Services
         LP lnsurance Services Inc.
         (Direct) 916-526-0151
         (Mobile) 916-S01-2073
         virginia.bolman@)Ipins.net




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         From: Ashwood, Brandon (Brandon Ashwood) [mailto:ASHW0B10natSonwide.com]
         Sert: Thursday, September 08, 2016 11:11 AM
         Ta: V'irginia Bofman
         Subject~ RE: ERCS Claim 033862

         Hello,

         Here is a copy of our final estimate.

         Thanlcs,

         Brandon Ashwood


         { ] Nationwide Mutual Insurance Company
         [ x j AMCO insurance Company
         [] Allied Property and Casualty Insurance Company
         [ ] Depositors insurance Company
         (] Nationwide Insurance Companies of America
         []Nationwide Property and Casualty Insurance Co.
         [] Nationwide Mutual Fire Insurance Company
         { ] Nationwide Agribusiness Insurance Company

         From: Virginia Bolman [mailto:virginia.bolman@Ipins.netl
         Sent: Thursday, September 08, 2016 1:49 PM
         To: Ashwood, Brandon (Brandon Ashwood) <ASHWOBi@nationwide.com>
         Cc: Danielle Hill <danielle.hill@ipins.net>
         5ubject: ERGS Claim 033862

         Dear Mr. Ashwood,

         We are the insurance broker for ERCS, and have a question regarding the application of the Backup of
         Sewer or Drain Water limitation to this ioss. Please call me at 916-526-0151 to discuss the loss and the
         coverage decision.

         Sincereiy,

         Virginia Bolman




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                     Case 3:17-cv-00451-MMD-WGC Document 1-2 Filed 07/26/17 Page 65 of 66


                     Vrginia -Boiman
                     Risk Marsagement Services
                     LP Insurance Services inc.
                     (Direct) 916-526-0151
                     (Mobiie) 916-501-2073
                     virei nia.boi man Plpins. net




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Nevada Division of Insurance
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                                                                                          CSC SERVICES OF NEVADA, INC.
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